                                   Case 3:17-cr-00533-EMC
                                        Case 3:17-cr-00533-EMC
                                                            Document
                                                                Document
                                                                     2191 *SEALED*
                                                                          2237 Filed 01/14/22
                                                                                     Filed 12/09/21
                                                                                               Page 1
                                                                                                    Page
                                                                                                      of 511 of 51




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       UNITED STATES OF AMERICA,                       Case No. 17-cr-00533-EMC-1
                                   8                    Plaintiff,                         FILED UNDER SEAL
                                   9             v.                                        ORDER GRANTING IN PART AND
                                                                                           DENYING IN PART DEFENDANTS’
                                  10       JONATHAN JOSEPH NELSON, et al.                  MOTIONS TO SUPPRESS
                                  11                    Defendants.

                                  12                                                       Docket Nos. 2065-2, 2067, 2068-2,
Northern District of California
 United States District Court




                                                                                           2069-1, 2070
                                  13

                                  14

                                  15          Currently pending before the Court are: Defendant Wendt’s Motion to Suppress Evidence

                                  16   Seized (Docket No. 2068-2), Defendant Wendt’s Motion to Suppress Cell Phone Records (Docket

                                  17   No. 2069-1), Defendant Ott’s Motion to Suppress Evidence Seized (Docket No. 2070), Defendant

                                  18   Ott’s Motion to Suppress Cell Phone Records (Docket No. 2065-2), and Defendant Nelson’s

                                  19   Motion to Suppress Evidence Seized and Cell Phone Records (Docket No. 2067). The Court held

                                  20   a hearing on the motions and heard arguments on October 22, 2021.

                                  21          For the reasons stated below, the Court DENIES all of Defendants’ motions to suppress.

                                  22                                      I.      INTRODUCTION

                                  23          In this multi-defendant RICO conspiracy case, government agents submitted a “master

                                  24   affidavit” (“Menke Affidavit”) authored by Santa Rosa Police Detective Travis Menke (“Menke”),

                                  25   which was used to justify the search of dozens of different locations, including homes, businesses,

                                  26   and Hells Angels (“HA”) clubhouses.1 The Menke affidavit was focused on the Sonoma Charter

                                  27
                                       1
                                  28    All three Defendants attach the Menke Affidavit as an exhibit to their respective suppression
                                       motions: Wendt Mot., Ex. A at 38, Menke Affidavit, Docket No. 2068-4; Nelson Mot.,
                                   Case 3:17-cr-00533-EMC
                                        Case 3:17-cr-00533-EMC
                                                            Document
                                                                Document
                                                                     2191 *SEALED*
                                                                          2237 Filed 01/14/22
                                                                                     Filed 12/09/21
                                                                                               Page 2
                                                                                                    Page
                                                                                                      of 512 of 51




                                   1   of the Hells Angels (“HASC”), the charged RICO enterprise. Notably, the Menke Affidavit

                                   2   describes the following 12 premises:

                                   3          1. the Sonoma Hells Angels clubhouse located at                      , Santa Rosa, CA 95404

                                   4          2. the Fresno Hells Angels Clubhouse located at                   , Fresno, CA 93721

                                   5          3. the Fresno Pet Cemetery located at                           , Fresno, CA 93706

                                   6          4. the business location (Nelson Brothers Painting) of HASC president Jonathan Nelson

                                   7              located at                  , Healdsburg, CA 95448

                                   8          5. the residence of Jonathan Nelson located at                      , Santa Rosa, CA 95407

                                   9          6. the residence of Russell Lyles located at                     , Windsor, CA 95492

                                  10          7. a business owned by Russell Lyles, Big Shots Screen Printing, located at

                                  11                           , Santa Rosa, CA 95492

                                  12          8. a business owned by Damien Cesena, North Bay Roofing and Gutter Co., located at
Northern District of California
 United States District Court




                                  13                                  , Santa Rosa, CA 95407

                                  14          9. the residence of Damien Cesena located at                            r., Santa Rosa, CA

                                  15              95401

                                  16          10. the residence of HASC Sergeant at Arms, Will Fonteno, located at

                                  17                ., Santa Rosa, CA 95409

                                  18          11. the residence of Russell Ott located at               ., Santa Rosa, CA 95401

                                  19          12. the residence of Brian Wendt and Stephen Meza, located at                  , Tulare, CA

                                  20              93274

                                  21          13. the “trailer style” residence of Louis Valdez, located at

                                  22              Windsor, CA 95492

                                  23          14. the residence of Jason Beek located at                  , Santa Rosa, CA 95407

                                  24          15. the residence of HASC member Herb Cody located at                                ,

                                  25              Rohnert Park, CA 94928

                                  26
                                  27

                                  28   Attachment 1 at 2., Menke Affidavit, Docket No. 2067-1; and Ott Mot., Ex. A, Menke Affidavit at
                                       3, Docket No. 2070-1.
                                                                                      2
                                   Case 3:17-cr-00533-EMC
                                        Case 3:17-cr-00533-EMC
                                                            Document
                                                                Document
                                                                     2191 *SEALED*
                                                                          2237 Filed 01/14/22
                                                                                     Filed 12/09/21
                                                                                               Page 3
                                                                                                    Page
                                                                                                      of 513 of 51




                                   1   A.     Warrants Pertaining to Locations

                                   2          On November 15, 2017, Magistrate Judge Joseph Spero issued a search warrant for the

                                   3                                                                 . premises which pertain to Defendant

                                   4   Nelson and the HASC. Nelson Mot. to Suppress (“Nelson Mot.”) at 1, Docket No. 2067. This

                                   5   search warrant included the Menke Affidavit which contains a lengthy probable cause statement

                                   6   and a copy of the indictment as an exhibit. Id.

                                   7          On November 16, 2017, Magistrate Judge Spero issued a search warrant, also containing

                                   8   the Menke Affidavit, to search Defendant Ott’s residence at                  . and the HASC

                                   9   clubhouse at                  . Ott Mot. to Suppress (“Ott Mot.”) at 1, Docket No. 2070.

                                  10          On November 16, 2017, a search warrant application that included the Menke Affidavit

                                  11   sought authority to search: (1) Defendant Wendt’s home at                       ; (2) the Fresno HA

                                  12   Clubhouse; and (3) a nearby Fresno pet cemetery. Wendt Mot. to Suppress (“Wendt Mot.”) at 2,
Northern District of California
 United States District Court




                                  13   Docket No. 2068-2. The warrant was issued by Magistrate Judge Stanley Boone of the Eastern

                                  14   District of California. The FBI and Santa Rosa Police Department officers executed the searches

                                  15   on November 20, 2017. Id. The warrant included permission to search and seize electronic

                                  16   devices pursuant to the Northern District’s electronic protocol and included descriptions of the

                                  17   aforementioned three Fresno area premises to be searched. Id. at 12. Additionally, the warrant

                                  18   authorized the search of “vehicles parked at the above-described premises or driven by HASC

                                  19   members and associates, including motorcycles” that are in the “immediate vicinity” of the above-

                                  20   listed locations, including any containers in the vehicles as premises that are covered by the search

                                  21   warrant. Id. at 20.

                                  22          As for Mr. Wendt’s storage unit, a separate warrant was issued by Magistrate Judge Boone

                                  23   on November 20, 2017. That warrant incorporated the Menke Affidavit and contained an

                                  24   Addendum authored by Menke. Opp’n Attachments at 54, Attachment H, Docket No. 2106-1.2

                                  25
                                       2
                                  26     Notably, counsel for Defendant Wendt states that the probable cause statement pertaining to the
                                       November 20, 2017 search warrant for Defendant Wendt’s storage unit was not produced in
                                  27   discovery and only now produced as an exhibit to the Government’s opposition. Wendt Reply at
                                       24, n12. Counsel states that this “is yet another example of the government’s repeated failures to
                                  28   produce timely, complete, organized discovery. The defense has no way of knowing whether the
                                       information we have received on numerous topics that are essential for preparation has been
                                                                                          3
                                   Case 3:17-cr-00533-EMC
                                        Case 3:17-cr-00533-EMC
                                                            Document
                                                                Document
                                                                     2191 *SEALED*
                                                                          2237 Filed 01/14/22
                                                                                     Filed 12/09/21
                                                                                               Page 4
                                                                                                    Page
                                                                                                      of 514 of 51




                                   1   B.      Warrants Pertaining to Cell Phone Records

                                   2           On October 15, 2014, Sonoma County Superior Court Judge Peter Otten Weller signed a

                                   3   search warrant for records regarding AT&T cell phone number 707-536-8170 associated with

                                   4   Defendant Ott for the time period of July 1, 2014, 001 hours through October 14, 2014, 2359

                                   5   hours. In addition to the type of information sought for a pen register and trap and trace, the

                                   6   warrant authorized search of, e.g., sent and received text messages, physical addresses of cell sites,

                                   7   all stored communications or files including voice mail, email, digital images, and all connection

                                   8   logs and records of user activity for the period designated. Ott Cell Mot. at 2, Docket No. 2065-2.

                                   9   This warrant also included a statement of probable cause signed by Menke. Id. (While not the

                                  10   same as the Master Affidavit, there is substantial information overlap therewith.)

                                  11           On October 29, 2014, Menke applied to Superior Court Judge Shelly Averill for a search

                                  12   warrant for call detail records for several phone numbers, including one belonging to Brian Wendt,
Northern District of California
 United States District Court




                                  13   559-679-3936. Wendt Cell Mot. at 7, Docket No. 2069-1. This warrant included an affidavit

                                  14   from Menke and authorized the search of AT&T phone records for this number for the time period

                                  15   of July 15, 2014 through October 28, 2014. Id. at 2, n.1.

                                  16           The search warrant for Defendant Nelson’s phone records was issued on January 5, 2017,

                                  17   by Sonoma County Superior Court Judge Lawrence Ornell and included an affidavit from Menke.

                                  18   Nelson Mot. at 2. The warrant sought records for a three-month period from June 1, 2014 to

                                  19   August 31, 2014, which included subscriber, billing, and service information, as well as call detail

                                  20   records. Id. at 3.

                                  21                                    II.      LEGAL STANDARD

                                  22           The Fourth Amendment protects individuals against unreasonable searches and seizures.

                                  23   U.S. CONST. amend. IV. Evidence resulting from an unconstitutional search or seizure cannot be

                                  24   admitted as proof against the victim of the search, and therefore must be suppressed. See Wong

                                  25   Sun v. United States, 371 U.S. 471, 485 (1963). The Supreme Court has held that “the proponent

                                  26
                                  27   produced in its entirety.” Id. Counsel also states in a supplemental declaration that Exhibits E and
                                       F to the Government’s opposition were also not produced in discovery and had not previously
                                  28   been produced by the government. McClure Supp. Decl. at 3, Docket No. 2114-2. In the future,
                                       any late produced document may subject the Government to sanctions.
                                                                                         4
                                   Case 3:17-cr-00533-EMC
                                        Case 3:17-cr-00533-EMC
                                                            Document
                                                                Document
                                                                     2191 *SEALED*
                                                                          2237 Filed 01/14/22
                                                                                     Filed 12/09/21
                                                                                               Page 5
                                                                                                    Page
                                                                                                      of 515 of 51




                                   1   of a motion to suppress has the burden of establishing that his own Fourth Amendment rights were

                                   2   violated by the challenged search or seizure.” United States v. Caymen, 404 F.3d 1196, 1199 (9th

                                   3   Cir. 2005) (citing Rakas v. United States, 439 U.S. 128 (1978)).

                                   4          Under the Fourth Amendment, a search warrant may not issue without probable cause.

                                   5   U.S. Const. amend. IV. Probable cause exists where the issuing judge can determine that there is

                                   6   a “fair probability” that the evidence sought will be found in the place searched. Illinois v. Gates,

                                   7   462 U.S. 213, 238 (1983) (“The task of the issuing magistrate is simply to make a practical,

                                   8   common-sense decision whether, given all the circumstances set forth in the affidavit before him,

                                   9   including the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay information, there

                                  10   is a fair probability that contraband or evidence of a crime will be found in a particular place.”).

                                  11   In making this determination, a magistrate judge must assess the “totality of the circumstances”

                                  12   and make a “practical, common-sense decision.” Id. “Under the totality of the circumstances test,
Northern District of California
 United States District Court




                                  13   otherwise innocent behavior may be indicative of criminality when viewed in context,” and

                                  14   “issuing judges may rely on the training and experience of police officers.” United States v.

                                  15   Chavez-Miranda, 306 F.3d 973, 978 (9th Cir. 2002) (citations omitted). “Probable cause . . . is not

                                  16   a high bar.” Kaley v. United States, 571 U.S. 320, 338 (2014). Probable cause requires only that

                                  17   “there is a fair probability” that evidence, fruits, or instrumentalities of a crime will be found in the

                                  18   premises to be searched, not a “hard certainty.” Gates, 462 U.S. at 238, 231. “[I]t is clear that

                                  19   ‘only the probability, and not a prima facie showing, of criminal activity is the standard of

                                  20   probable cause.’” Id. at 235 (citation omitted). “Finely-tuned standards such as proof beyond a

                                  21   reasonable doubt or by a preponderance of the evidence, useful in formal trials, have no place in

                                  22   the magistrate’s decision.” Id.

                                  23          The affidavit in support of a warrant must be read through a “commonsense and realistic”

                                  24   lens. United States v. Ventresca, 380 U.S. 102, 108 (1965). “Although in a particular case it may

                                  25   not be easy to determine when an affidavit demonstrates the existence of probable cause, the

                                  26   resolution of doubtful or marginal cases in this area should largely be determined by the

                                  27   preference to be accorded to warrants.” Id. at 109; United States v. Crews, 502 F.3d 1130, 1135

                                  28   (9th Cir. 2007) (“In borderline cases, preference will be accorded to warrants and to the decision
                                                                                          5
                                   Case 3:17-cr-00533-EMC
                                        Case 3:17-cr-00533-EMC
                                                            Document
                                                                Document
                                                                     2191 *SEALED*
                                                                          2237 Filed 01/14/22
                                                                                     Filed 12/09/21
                                                                                               Page 6
                                                                                                    Page
                                                                                                      of 516 of 51




                                   1   of the magistrate issuing it.”). “We are not in a position to flyspeck the affidavit through de novo

                                   2   review. This deferential approach is the antithesis of a ‘grudging or negative attitude’ toward

                                   3   search warrants and ‘a hypertechnical rather than a commonsense’ analysis.” United States v.

                                   4   Gourde, 440 F.3d 1065, 1070-71 (9th Cir. 2006) (en banc) (citations omitted).

                                   5          In assessing the sufficiency of probable cause, there is a “narrow standard of review”

                                   6   applied to a magistrate’s decision to issue a search warrant. United States v. Estrada, 733 F.2d

                                   7   683, 684 (9th Cir. 1984). “The duty of a reviewing court is simply to ensure that the magistrate

                                   8   had a ‘substantial basis for . . . conclud[ing] that probable cause existed.’” Id. (quoting Gates, 462

                                   9   U.S. at 238). “A magistrate’s determination of probable cause should be paid great deference by

                                  10   reviewing courts.” Gates, 462 U.S. at 236. A reviewing court may not reverse such a

                                  11   determination unless the magistrate’s decision is “clearly erroneous.” Estrada, 733 F.2d at 684.

                                  12                          III.      MOTIONS TO SUPPRESS EVIDENCE
Northern District of California
 United States District Court




                                  13   A.     Defendant Brian Wendt

                                  14          Defendant Wendt moves the Court to suppress “all evidence seized from and observations

                                  15   made” pursuant to the November 20, 2017 search of: (1) the residence at which Defendant Wendt

                                  16   was residing, located at 648 Auburn Street, Tulare (2) the search of Defendant Wendt’s vehicle,

                                  17   parked in front of 648 Auburn Street, Tulare; (3) the Fresno HA Clubhouse located at 2273 G

                                  18   Street, Fresno; and (4) Defendant Wendt’s storage unit at Tulare Mini Storage (Unit Y34) located

                                  19   at 201 N. West Street, Tulare. Wendt Mot. at 2. Defendant Wendt states that these searches were

                                  20   made pursuant to search warrants issued by Magistrate Judge Boone in November 2017. Id.

                                  21          1.      Probable Cause as to Wendt’s Locations

                                  22          Defendant Wendt argues that the November 2017 search warrant that authorized the search

                                  23   of his home, vehicle, and the Fresno HA clubhouse violated the Fourth Amendment’s probable

                                  24   cause requirement. Wendt Mot. at 21. In particular, Defendant Wendt argues that the Menke

                                  25   Affidavit is facially insufficient in that it fails to provide probable cause that evidence of weapons,

                                  26   drugs, HASC property, or violent crimes would be found at the subject Fresno area premises. Id.

                                  27   at 25. As for his underlying claim regarding the sufficiency of the Menke Affidavit, he argues

                                  28   that: (1) there are no facts in the November 2017 search warrant establishing probable cause to
                                                                                          6
                                   Case 3:17-cr-00533-EMC
                                        Case 3:17-cr-00533-EMC
                                                            Document
                                                                Document
                                                                     2191 *SEALED*
                                                                          2237 Filed 01/14/22
                                                                                     Filed 12/09/21
                                                                                               Page 7
                                                                                                    Page
                                                                                                      of 517 of 51




                                   1   search his home; (2) the warrant provides no probable cause that evidence of drug trafficking

                                   2   would be found at the Fresno area premises; (3) probable cause is lacking to search for weapons in

                                   3   his home, vehicle, storage unit, and the Fresno HA clubhouse; (4) the warrant fails to provide

                                   4   probable cause that indicia of the HASC would be found in the Fresno area premises; and (5) the

                                   5   warrant provides no facts to support the claim that evidence of the “Silva killing” would remain at

                                   6   the Fresno Clubhouse three years after it is alleged to have occurred. Id. at 25-30.

                                   7          The Government highlights several portions of the Menke Affidavit in its opposition and

                                   8   argues that the “affidavit presents evidence of a significant connection between Defendant Wendt,

                                   9   the Fresno charter, and the HASC enterprise. Wendt can only claim that [] the affidavit lacks

                                  10   probable cause that the evidence in connection would be found at his residence and clubhouse by

                                  11   pretending these portions of the affidavit do not exist.” Opp’n at 5, Docket No. 2106.

                                  12          Probable cause exists if the issuing judge can reasonably conclude, based on the totality of
Northern District of California
 United States District Court




                                  13   the circumstances, that there is a fair probability that the evidence sought will be found in the

                                  14   place to be searched. Gates, 462 U.S. at 238. Probable cause does not require direct evidence that

                                  15   the evidence sought will be found in the place searched. United States v. Angulo–Lopez, 791 F.3d

                                  16   1394, 1399 (9th Cir. 1986). Instead, the issuing judge “is entitled to draw reasonable inferences

                                  17   about where evidence is likely to be kept, based on the nature of the evidence and the type of

                                  18   offense.” Id.

                                  19                   a.     Association with the HASC

                                  20          Here, the Menke Affidavit details a connection between the Fresno Hells Angels charter

                                  21   and the HASC and notes that at the time of the searches, Defendant Wendt was the President of

                                  22   the Fresno Hells Angels charter. Menke Affidavit ¶ 29. For example, the Menke Affidavit notes

                                  23   that members of the Fresno Hells Angels, Defendant Wendt in particular, have “close relationships

                                  24   with HASC” and have traveled together, including to a 2014 motorcycle rally in Laconia, New

                                  25   Hampshire. Id. The Menke Affidavit states that Defendant Wendt attended and was

                                  26   photographed at HASC member Defendant Lyles’ engagement party in Sonoma County in 2017

                                  27   and notes that Wendt’s motorcycle vest features a “Sonoma County” side patch. Id.

                                  28          More centrally, the Menke Affidavit details the connection between the HASC and
                                                                                         7
                                   Case 3:17-cr-00533-EMC
                                        Case 3:17-cr-00533-EMC
                                                            Document
                                                                Document
                                                                     2191 *SEALED*
                                                                          2237 Filed 01/14/22
                                                                                     Filed 12/09/21
                                                                                               Page 8
                                                                                                    Page
                                                                                                      of 518 of 51




                                   1   Defendant Wendt in describing how Wendt participated in the 2014 killing of HASC member Joel

                                   2   Silva (“Silva”) with HASC members Nelson and Ott. Id. ¶¶ 31-32, 57-59. The Menke Affidavit

                                   3   notes that Silva’s status with the HASC “became perilous as his drug use became more severe”

                                   4   and states that leading up to the summer of 2014, “the leadership of HASC and related chapters

                                   5   such as the Fresno and Salem/Boston Hells Angels began viewing Silva’s erratic behavior as

                                   6   increasingly problematic.” Id. ¶ 31. “The final straw came in June 2014, when Silva threatened to

                                   7   kill a well-respected member of the Salem/Boston chapter over a perceived personal slight. The

                                   8   President of the Salem/Boston Hells Angels, Christopher Ranieri, and Brian Wendt, the President

                                   9   of the Fresno Chapter, decided that Silva had to be killed shortly after Silva made these threats.

                                  10   They quickly secured the agreement of HASC President Jonathan Nelson, who put a plan in

                                  11   place.” Id. Additionally, the Menke Affidavit states that on July 15, 2014, Nelson arranged for

                                  12   HASC member Russell Ott to take Silva from the HASC clubhouse, “where Silva believed that he
Northern District of California
 United States District Court




                                  13   would address the grievances Wendt had against him.” Id. ¶ 32. “Soon after Silva arrived at the

                                  14   clubhouse, however, Wendt shot him in the back of the head. His body has never been found

                                  15   because it was likely incinerated in a nearby animal crematorium.” Id. The Menke Affidavit

                                  16   states that on the date Silva disappeared, he traveled to a meeting with Wendt at the Fresno HA

                                  17   clubhouse and phone records show that they were in contact on that date. Id. ¶ 44. Notably, the

                                  18   last call from Silva’s cell phone was to Wendt’s cell phone. Id. Moreover, phone records also

                                  19   show that Wendt was in contact with Defendant Nelson around the time of Silva’s disappearance.

                                  20   Id. ¶ 49. In particular, the Menke Affidavit states that,

                                  21                  [a]ccording to CI-1, based in part on conservations with Robbie
                                                      Huff and [] Wendt, Wendt murdered Silva. According to CI-1,
                                  22                  Silva went to the Fresno Hells Angels Clubhouse in mid-July 2014
                                                      with HASC member Russell Ott to meet with Wendt. In the
                                  23                  clubhouse, Wendt directed Silva to inspect some marijuana, and
                                                      when Silva bent down to do so, Wendt shot him in the back of the
                                  24                  head. CI-1 learned of the murder when Wendt bragged about the
                                                      incident. Id. ¶ 58. Further, according to CI-1, Defendant Wendt
                                  25                  indicated that Mr. Silva’s body was transported to a nearby pet
                                                      cemetery and crematorium that is less than a 10-minute drive from
                                  26                  the Fresno HA clubhouse.
                                  27   Id. ¶ 59. The Indictment charges Defendant Wendt, though not an HASC member, was an

                                  28   associate of the HASC that conspired with the HASC to murder HASC member Silva as a matter
                                                                                          8
                                   Case 3:17-cr-00533-EMC
                                        Case 3:17-cr-00533-EMC
                                                            Document
                                                                Document
                                                                     2191 *SEALED*
                                                                          2237 Filed 01/14/22
                                                                                     Filed 12/09/21
                                                                                               Page 9
                                                                                                    Page
                                                                                                      of 519 of 51




                                   1   of Hells Angels business.

                                   2                  b.      Instrumentality of Crime

                                   3          The Government thus contends there was probable cause to search Defendant Wendt’s

                                   4   property for evidence of his affiliation with the Hells Angels and the HASC in particular, and of

                                   5   his participation in criminal actions of the HASC including the Silva murder. As to evidence of

                                   6   association with the HASC, Menke states in the affidavit that based on his training and experience,

                                   7   “[m]embers and associates of HASC keep signifiers of their membership in association with the

                                   8   enterprise in their residence, places of work, and clubhouses.” Id. ¶ 84(a). The Menke Affidavit

                                   9   provides specific examples of instances in which enterprise signifiers were found in prior searches

                                  10   of HASC members’ and associates’ residences and vehicles. Id.; see also id. ¶ 99 (search of

                                  11   Defendant Lyles’ business found weapons and Hells Angels indicia); id. ¶¶ 84(b)(iv), 51 (firearm

                                  12   and HASC vest found in HASC prospect Trent Miles’ vehicle & HASC indicia and firearm found
Northern District of California
 United States District Court




                                  13   at his residence). With respect to the search for firearms and other weapons, the Menke Affidavit

                                  14   notes that, “[m]embers and associates of HASC often possess weapons, both for themselves and

                                  15   for other members and associates of the enterprise.” Id. ¶ 84(b); see also id. ¶ 86 (firearms found

                                  16   during a 2008 search of the HASC clubhouse).

                                  17          As to the instrumentality of crimes such as weapons, the Menke Affidavit also states that,

                                  18                  [m]embers of the enterprise will frequently hide weapons,
                                                      specifically guns, used in crimes with [] fellow members or
                                  19                  associates who may not be subject to search or be unknown to law
                                                      enforcement. Members will in some cases retrieve weapons from a
                                  20                  fellow member and keep them at their residences or in their vehicles
                                                      or on their person when they believe the member would no longer
                                  21                  be subject to a search. It is also my opinion that members of
                                                      racketeering enterprises will store, hold, keep, and conceal weapons
                                  22                  to be used by the entire membership should the need arise. Based
                                                      on my training and experience, I know that instrumentalities, such as
                                  23                  weapons, that are utilized by member of the enterprise may be
                                                      circulated amongst the membership for use and/or concealment
                                  24                  purposes.
                                  25   Id. ¶ 84(b)(v). The Menke Affidavit also indicates that HASC members and associates possess

                                  26   firearms in connection with drug trafficking. Id. ¶ 84(c)(xv)-(xvi) (“It is my opinion that any such

                                  27   firearms constitute further evidence of narcotics trafficking in that they are commonly associated

                                  28   with those actively engaged in this criminal enterprise; and [t]hat persons who traffic in controlled
                                                                                         9
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 10
                                                                                                   Page
                                                                                                      of 51
                                                                                                         10 of 51




                                   1   substances may also keep the items listed [] in storage units, post-office boxes, and safety deposit

                                   2   boxes.”). See id. ¶ 84(b)(i) (firearms and ammunition found in a 2008 search of Defendant

                                   3   Nelson’s residence). See also id. ¶ 77 (firearms, ammunition, bulletproof vests, and drugs found

                                   4   at Defendant Lyles’ residence).

                                   5          The Menke Affidavit also notes Defendant Wendt’s involvement specifically with

                                   6   weapons possession as well as his affiliation with the Hells Angels generally. In February 2017, a

                                   7   Minnesota State Patrol Trooper pulled over a truck that Defendant Wendt was driving. Id. ¶ 79.

                                   8   The Trooper suspected that Wendt and Fresno HA Treasurer Stephen Meza, who was a passenger

                                   9   in the vehicle, were using the truck for drug trafficking. Id. ¶ 80. Troopers executed a search of

                                  10   the vehicle and found several weapons and Hells Angels regalia. Id. ¶¶ 81-82. Notably, the

                                  11   Troopers recovered ammunition, a silencer attachment, and several firearms. Id. ¶ 81. In addition,

                                  12   there was evidence that Defendant Wendt used a gun in killing Mr. Silva.
Northern District of California
 United States District Court




                                  13          Thus, Menke concluded in the master affidavit that “based on my training and experience,

                                  14   I believe the following categories of evidence (enterprise evidence, weapons possession, evidence

                                  15   of drug trafficking, evidence of linkage between HASC members and associates and the subject

                                  16   premises, physical evidence, computer equipment and cell phones, and HASC motorcycles) will

                                  17   be found at the premised to be searched . . . .” Id. ¶ 84.

                                  18                  c.      Wendt’s Storage Unit

                                  19          As for the search warrant pertaining to Defendant Wendt’s storage unit, he claims that the

                                  20   “warrant contains no statement of probable cause or affidavit.” Wendt Mot. at 12-13. Moreover,

                                  21   he emphasizes that the master Menke Affidavit does not list his storage unit as one of the premises

                                  22   to be searched. Id. at 13. The Government responds that the “application to the Magistrate for the

                                  23   rollover search warrant included and incorporated by reference the Menke Affidavit and the

                                  24   Indictment in the case.” Opp’n at 13.

                                  25          Notably, the search warrant application for Defendant Wendt’s storage unit did include and

                                  26   incorporate by reference the entire Menke Affidavit and the indictment for the case. See Opp’n

                                  27   Attachments at 29, Attachment H. Additionally, the search warrant application for Wendt’s

                                  28   storage unit also includes an Addendum authored by Menke that informed Magistrate Judge
                                                                                         10
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 11
                                                                                                   Page
                                                                                                      of 51
                                                                                                         11 of 51




                                   1   Boone that agents found the following items at Wendt’s residence in the initial November 2017

                                   2   search: “22 firearms, to include handguns and assault rifle-type weapons, ammunition, and Hells

                                   3   Angel Motorcycle Club paraphernalia. Agents also located approximately $39,000 dollars in

                                   4   cash.” Id. at 103, Addendum ¶ 4. The Addendum also notes that agents found: (1) a receipt for

                                   5   storage unit Y-034 at Tulare Mini Storage facility with Defendant Wendt’s name and previous

                                   6   address on it; and (2) a second receipt in Defendant Wendt’s vehicle that indicated he had

                                   7   purchased locks at that facility. Id., Addendum ¶ 6. Further, the Addendum states that agents

                                   8   went to the storage facility and spoke to an employee who indicated that unit Y-034 was leased by

                                   9   Wendt and noted that the unit had been accessed less than two weeks earlier. Id., Addendum ¶ 7.

                                  10   Menke also states in the Addendum that based on his training and experience, individuals will

                                  11   often conceal contraband in storage lockers. Id. at 104, Addendum ¶ 8.

                                  12                  d.      Probable Cause
Northern District of California
 United States District Court




                                  13          Based on the foregoing, with one exception as noted below, the evidence in the Menke

                                  14   Affidavit (and the Addendum as it pertains to the search of the storage unit), provided a substantial

                                  15   basis for the issuing judge to find that there was a fair probability that agents would find evidence

                                  16   of the RICO conspiracy (including his affiliation with the Hells Angels and with the HASC in

                                  17   particular) and Defendant Wendt’s participation therein. There is evidence of a substantial

                                  18   connection between Defendant Wendt, the Fresno charter, and the HASC enterprise charged in the

                                  19   Indictment. And given the evidence regarding the criminal network of the HASC, the method of

                                  20   Silva’s alleged murder, and Defendant Wendt’s prior Minnesota weapons possession, there was

                                  21   probable cause to believe agents would find evidence of weapons possession on Defendant

                                  22   Wendt’s property.

                                  23          Thus, based on the totality of the circumstances, the issuing judge had a substantial basis

                                  24   for concluding that there was probable cause that RICO enterprise evidence (including evidence of

                                  25   weapons possession, Hells Angels membership and membership and association with the HASC,

                                  26   and physical evidence and trace evidence of the Silva homicide)3 would be found at the locations

                                  27

                                  28
                                       3
                                        Defendant Wendt’s argument that the bases for searching for weapons possibly related to the
                                       homicide was stale is addressed below.
                                                                                     11
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 12
                                                                                                   Page
                                                                                                      of 51
                                                                                                         12 of 51




                                   1   pertaining to Defendant Wendt. See United States v. Angulo-Lopez, 791 F.2d at 1399 (“Direct

                                   2   evidence that contraband or evidence is at a particular location is not essential to establish

                                   3   probable cause to search the location.”) (citation omitted).

                                   4          However, the Court finds that evidence here did not provide a substantial basis for the

                                   5   issuing judge to find that there was a fair probability that evidence of HASC related drug

                                   6   trafficking would be found in the execution of the 2017 search warrants pertaining to Wendt’s

                                   7   home, vehicle, storage unit, and the Fresno HA Clubhouse. There was no evidence that Wendt’s

                                   8   association with the HASC enterprise included participation in its drug trafficking. The only

                                   9   crime in which he was alleged to have participated in association with the HASC is the Silva

                                  10   murder. In fact, there is no evidence that Wendt participated in any drug trafficking, much less

                                  11   that he did so in connection with the HASC enterprise. Accordingly, the Court finds that the

                                  12   November 2017 search warrants issued by Magistrate Judge Boone failed to establish probable
Northern District of California
 United States District Court




                                  13   cause that evidence of HASC related drug trafficking would be at Defendant Wendt’s house,

                                  14   vehicle, storage unit, and the Fresno Hells Angels Clubhouse.

                                  15          2.      Wendt’s Standing as to the Fresno HA Clubhouse

                                  16          The Government challenges Defendant Wendt’s standing to challenge the search of the

                                  17   Fresno HA clubhouse. Wendt Mot. at 21. Wendt argues that as President of the Fresno HA

                                  18   chapter he had joint control and supervision of “what was essentially the office” of the Fresno HA

                                  19   chapter. Id. at 22. Defendant Wendt submitted a declaration and states that he stored personal

                                  20   belongings there, spent a considerable amount of time there including sleeping there overnight,

                                  21   excluded members of the public, had the authority to exclude other Fresno HA members due to his

                                  22   status as President, and as such, certainly had a reasonable expectation of privacy in the Fresno

                                  23   clubhouse. See Wendt Decl., Docket No. 2068-16.

                                  24          “Fourth Amendment rights are personal rights which, like some other constitutional rights,

                                  25   may not be vicariously asserted.” Rakas, 439 U.S. at 133-134 (citation omitted). It has “long

                                  26   been the rule that a defendant can urge the suppression of evidence obtained in violation of the

                                  27   Fourth Amendment only if that defendant demonstrates that his Fourth Amendment rights were

                                  28   violated by the challenged search.” United States v. Padilla, 508 U.S. 77, 81 (1993) (per curiam)
                                                                                         12
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 13
                                                                                                   Page
                                                                                                      of 51
                                                                                                         13 of 51




                                   1   (emphasis in original). The touchstone of such a demonstration is an affirmative showing that the

                                   2   defendant had a “legitimate expectation of privacy in the invaded place.” Minnesota v. Olson, 495

                                   3   U.S. 91, 95 (1990) (citation omitted).

                                   4          The Government does not contest that Defendant Wendt has standing to challenge the

                                   5   searches of home, vehicle, and storage unit so the Court need not address these claims. However,

                                   6   the Government argues that Defendant Wendt lacks standing to challenge the search of the Fresno

                                   7   HA clubhouse and emphasizes that Wendt has not asserted that he exercised daily management

                                   8   and control over the Fresno HA clubhouse or shown a personal connection to the places searched

                                   9   and the material seized. Opp’n at 10-11. The Government also emphasizes that Wendt “offers no

                                  10   reason to think that he had any ‘private place’ within the clubhouse” and states that there is no

                                  11   evidence that he maintained a private office or locker within the clubhouse. Id. at 11.

                                  12   Additionally, the Government notes that Wendt “does not state whether he ‘ever exercised his
Northern District of California
 United States District Court




                                  13   claimed right to exclude.’” Id. (citing United States v. Pirk, 282 F. Supp. 3d 585, 593 (W.D.N.Y.

                                  14   2017) (emphasis original). As such, the Government argues that Defendant Wendt has not met his

                                  15   burden of establishing standing. Id.

                                  16          “Property used for commercial purposes is treated differently for Fourth Amendment

                                  17   purposes from residential property.” Minnesota v. Carter, 525 U.S. 83, 90 (1998) (plurality

                                  18   opinion). Specifically, “[a]n expectation of privacy in commercial premises . . . is different from,

                                  19   and indeed less than, a similar expectation in an individual’s home.” New York v. Burger, 482

                                  20   U.S. 691, 700 (1987). With regard to employees and their workspaces or offices, the Ninth Circuit

                                  21   noted that “it is crucial to Fourth Amendment standing that the place searched be given over to the

                                  22   defendant’s exclusive use” and found that “an employee of a corporation, whether worker or

                                  23   manager, does not, simply by virtue of his status as such, acquire Fourth Amendment standing

                                  24   with respect to company premises.” United States v. SDI Future Health, Inc., 568 F.3d 684, 695-

                                  25   96 (9th Cir. 2009). Moreover, “except in the case of a small business over which an individual

                                  26   exercises daily management and control, an individual challenging a search of workplace areas

                                  27   beyond his own internal office must generally show some personal connection to the places

                                  28   searched and the materials seized.” Id. at 698.
                                                                                         13
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 14
                                                                                                   Page
                                                                                                      of 51
                                                                                                         14 of 51




                                   1          In U.S. v. Gonzalez, Inc. 412 F.3d 1102 (9th Cir. 2005), the Ninth Circuit analyzed whether

                                   2   small business owners had standing to challenge the seizure of their wiretapped conversations that

                                   3   were intercepted at the location of their family-run office. Id. at 1116. The Ninth Circuit noted

                                   4   that it was “important to assess the nature of the location where the[] conversations were seized”

                                   5   to determine whether the Gonzalezes “had a reasonable expectation over the intercepted calls.” Id.

                                   6   The Court noted that it was “a small, family-run business housing only 25 employees at its peak”

                                   7   and concluded that “[i]n such an office, individuals who own and manage the business operation

                                   8   have a reasonable expectation of privacy over the on-site business conversations between their

                                   9   agents.” Id. at 1116-17. In reaching this conclusion, the Court emphasized that “we simply hold

                                  10   that because the Gonzalezes were corporate officers and directors who not only had ownership of

                                  11   the [] office but also exercised full access to the building as well as managerial control over its

                                  12   day-to-day operations, they had a reasonable expectation of privacy over calls made on the
Northern District of California
 United States District Court




                                  13   premises. Id. at 1117.

                                  14          SDI and Gonzalez represent the opposite ends of a continuum. Defendant Wendt makes a

                                  15   fair argument that the Fresno HA charter is a smaller club, more akin to the family-run business in

                                  16   Gonzalez than a corporate company premises like in SDI Future Health. Similar to the defendants

                                  17   in Gonzalez, as President of the Fresno HA charter, Wendt had a reasonable expectation of privacy

                                  18   in the Fresno HA clubhouse since he managed the small club’s operation as its President and used

                                  19   the clubhouse as a kind of pied-a-terre. To be sure, although he had the authority to exclude the

                                  20   public and members from the clubhouse, he did not cite instances where he actually exercised that

                                  21   authority. Cf. Pirk, 282 F. Supp. 3d at 593 (a Kingsmen Motorcycle Club member made “a great

                                  22   deal out of his purported right to exclude others from entering the clubhouse” but failed to state in

                                  23   his declaration that “he could prevent entry of an invitee or another KMC member, or whether he

                                  24   ever exercised his claimed right to exclude). Nonetheless, unlike the defendant in Pirk, Wendt

                                  25   was President of the Fresno HA charter, not a mere member and had substantial control over the

                                  26   premises.

                                  27          Accordingly, the Court finds that Defendant Wendt has standing to challenge to the search

                                  28   of the Fresno HA clubhouse.
                                                                                         14
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 15
                                                                                                   Page
                                                                                                      of 51
                                                                                                         15 of 51




                                   1          3.      Staleness of the Probable Cause (Wendt & Ott)

                                   2          Defendant Wendt claims that the November 2017 search warrant fails to establish probable

                                   3   cause because the information it was based on was stale. Wendt Mot. at 30. He specifically

                                   4   argues that: (1) the Minnesota weapons evidence from nine months prior to the issuance of the

                                   5   warrant was stale; (2) the warrant provides no support for the claim that evidence of the “Silva

                                   6   killing” would remain at the Fresno Clubhouse three years after the crime occurred; and (3) the

                                   7   information from CI-1 accusing Defendant Wendt of the Silva killing was also stale. Id. at 30-31.

                                   8          Defendant Ott also claims in his motion to suppress that the information in the Menke

                                   9   Affidavit “was too stale to provide probable cause” to search his house and the HASC clubhouse.

                                  10   Ott Mot. at 13. Similarly, Ott notes that the November 2017 search warrant was issued by

                                  11   Magistrate Judge Spero three years and four months after Silva’s alleged disappearance. Id. Ott

                                  12   specifically argues that the Menke Affidavit “failed to show a sufficient ‘continuing pattern’ or
Northern District of California
 United States District Court




                                  13   ‘other good reasons’ to support a belief that the items to be seized” would be at his house and the

                                  14   HASC clubhouse almost three and half years later. Id.

                                  15          The Government argues that Defendants Wendt and Ott ignore that “the crime is an

                                  16   ongoing RICO conspiracy, not a singular criminal event in the past. By repeatedly referring to it

                                  17   in the present tense, Det. Menke alleges that HASC is a continuing enterprise, and in fact it

                                  18   remains in operation today.” Opp’n at 25. Thus, the Government claims that the November 2017

                                  19   warrants issued by Magistrate Judges Boone and Spero were “directed at searching for and seizing

                                  20   evidence of current criminal activity—the conduct of an ongoing RICO enterprise.” Id.

                                  21   Additionally, the Government notes that the items sought in the warrants are significant to the

                                  22   Court’s staleness analysis and claims that evidence located on computers, smartphones, and other

                                  23   electronic devices, “increased the likelihood that the evidence at issue would be found at the

                                  24   search locations despite the passage of time.” Id. at 26-27.

                                  25          “The mere lapse of substantial amounts of time is not controlling in a question of

                                  26   staleness.” United States v. Dozier, 844 F.2d 701, 707 (9th Cir. 1988) (citing United States v.

                                  27   Foster, 711 F.2d 871, 878 (9th Cir. 1983), cert. denied, 465 U.S. 1103 (1984)). The Court must

                                  28   evaluate staleness in the context of the particular facts of the case, and the nature of the alleged
                                                                                         15
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 16
                                                                                                   Page
                                                                                                      of 51
                                                                                                         16 of 51




                                   1   crimes. See United States v. Greany, 929 F.2d 523, 525 (9th Cir. 1991). “One may properly infer

                                   2   that equipment acquired to accomplish the crime and records of the criminal activity will be kept

                                   3   for some period of time.” Id. This is particularly true when the evidence sought is related to an

                                   4   ongoing criminal enterprise. Id.

                                   5          As noted above, the Government asserts that the overarching crime is an ongoing RICO

                                   6   conspiracy, which applies to evidence of membership in (Ott) and association with (Wendt) the

                                   7   HASC enterprise. The Menke Affidavit states that Defendant Ott was a former HASC president

                                   8   and current HASC member, that participated in the Silva murder with Defendants Wendt and

                                   9   Nelson. Additionally, the Menke Affidavit details the connection between Wendt and the HASC,

                                  10   especially with regard to the Silva murder. See Menke Affidavit ¶¶ 31-32, 57-59. Notably, the

                                  11   assertion that Wendt is associated with the HASC enterprise is weaker in comparison to Ott’s

                                  12   HASC membership since Ott’s HASC membership is not contested and there is no indication that
Northern District of California
 United States District Court




                                  13   Wendt, as an associate, participated in further crimes with the HASC after the 2014 Silva murder.

                                  14   There was no clear and discrete date of Wendt’s alleged association with the HASC, especially in

                                  15   light of the length of time of his relationship with HASC members. Relevant to the Court’s

                                  16   staleness analysis, the evidence sought at Defendant Wendt’s residence, vehicle, storage unit, and

                                  17   the Fresno HA clubhouse, as well as the evidence sought at Defendant Ott’s residence and the

                                  18   HASC clubhouse, was evidence related to the investigation into the HASC enterprise (evidence of

                                  19   racketeering enterprise membership and association, evidence of weapons possession, evidence of

                                  20   drug trafficking, evidence of linkage between HASC members and associates and the subject

                                  21   premises, physical evidence pertaining to the Silva murder, etc.). See id. ¶ 84. Notably, much of

                                  22   the evidence sought in the search warrants at issue was arguably not of a transient nature. Indeed,

                                  23   HASC membership signifiers, firearms, and weapons are the types of “personal” items that are

                                  24   generally kept for a long time. See United States v. Gann, 732 F.2d 714, 722 (9th Cir. 1984) (the

                                  25   Ninth Circuit held that the information in the affidavit was sufficient to establish probable cause to

                                  26   search the defendant’s car and home due to the “ongoing nature” of the bank robberies, “the

                                  27   personal nature of the some of the items sought (e.g., hat, firearms, ammunition, items of

                                  28   identification . . .),” and the testimony of the Agent regarding the “propensity of bank robbers to
                                                                                        16
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 17
                                                                                                   Page
                                                                                                      of 51
                                                                                                         17 of 51




                                   1   hide evidence of their crimes in their cars or residences”); United States v. Lacy, 119 F.3d 742,

                                   2   745 (9th Cir. 1997) (staleness is evaluated in light of the particular facts of the case and the nature

                                   3   of the criminal activity and property sought; the affidavit here demonstrated that individuals who

                                   4   possess or distribute child pornography rarely, if ever delete such images); United States v. Flores,

                                   5   802 F.3d 1028, 1043 (9th Cir. 2015) (finding that information regarding the Facebook post at issue

                                   6   was not stale where the post was made three months before the government obtained the search

                                   7   warrant, reasoning that it was unlikely the post had been deleted in the interim and even if deleted,

                                   8   it was likely that it could be recovered); United States v. Gourde, 440 F.3d at 1070-71 (“Thanks to

                                   9   the long memory of computers, any evidence of a crime was almost certainly still on his computer,

                                  10   even if he had tried to delete the images”). Additionally, as noted above with respect to weapons

                                  11   possession, the Menke Affidavit states that “[m]embers will in some cases retrieve weapons from

                                  12   a fellow member and keep them at their residences or in their vehicles or on their person when
Northern District of California
 United States District Court




                                  13   they believe the member would no longer be subject to a search. It is also my opinion that

                                  14   members of racketeering enterprises will store, hold, keep, and conceal weapons to be used by the

                                  15   entire membership should the need arise.” Menke Affidavit ¶ 84(b)(v).

                                  16          Moreover, regarding physical evidence pertaining to Silva’s murder at the Fresno

                                  17   Clubhouse, the Menke Affidavit states that, “it is believed that the body was moved from one

                                  18   location to another. During the transportation and movement of the body there is the potential for

                                  19   evidence recovery from any number of areas in the Fresno Clubhouse and/or Pet Cemetery.”

                                  20   Menke Affidavit ¶ 84(e)(v). Further, the Menke Affidavit states that

                                  21                  [h]air, blood, fibers, bone, and minute DNA evidence may have
                                                      been shed or deposited by the victim and/or suspects during the
                                  22                  movement and/or following the incineration of the body. There is
                                                      probable cause to believe physical evidence at the above listed
                                  23                  locations may be located on or adhered to concrete, wood, sheet
                                                      rock, or other building materials present at the places to be searched.
                                  24

                                  25   Id.

                                  26          Thus, based on the context of the particular facts of the case and the nature of the alleged

                                  27   crimes it appears that the Court cannot say that the lapse of time of which Wendt and Ott complain

                                  28   rendered the probable cause in the November 2017 search warrants stale. Accordingly, the Court
                                                                                         17
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 18
                                                                                                   Page
                                                                                                      of 51
                                                                                                         18 of 51




                                   1   finds that Magistrate Judges Boone and Spero could reasonably have concluded that the probable

                                   2   cause for the November 2017 search warrants still obtained. See, e.g., United States v. Collins, 61

                                   3   F.3d 1379, 1384-85 (9th Cir. 1995) (citing cases from around the country holding that the mere

                                   4   lapse of time, ranging from two and a half weeks up to nine months, does not render probable

                                   5   cause stale in firearms cases).

                                   6          4.      Wendt Searches & the Scope of the Warrant

                                   7          Defendant Wendt specifically claims that: (1) the search of his storage unit exceeded the

                                   8   scope of the November 2017 warrant; and (2) the items seized from the Fresno area premises

                                   9   exceeded the scope of the warrant. Wendt Mot. at 33, 35. Wendt again claims that the “warrant

                                  10   for the storage unit has no statement of probable cause appended to it” and argues that “officers

                                  11   simply provided the original ‘master affidavit’ to the issuing magistrate late on the day of the

                                  12   Fresno area searches, which was plainly inadequate given the affidavit contains no statement of
Northern District of California
 United States District Court




                                  13   probable ca[u]se as to that separate location.” Id. at 34. As such, he argues that “[a]ll items

                                  14   recovered inside [the] storage locker must be suppressed.” Id. at 35. As for the items seized from

                                  15   the Fresno area premises, Wendt specifically claims that the search warrant lists “HASC

                                  16   Motorcycles” under the items to be seized and that the language employed in that section of the

                                  17   warrant was “clearly directed to members of the HASC” and not associates. Id., (emphasis in

                                  18   original). As such, Defendant Wendt argues that the “warrant did not authorize the search [and]

                                  19   seizure of his Fresno-related motorcycle or other Fresno Hells Angels items seized by the agents

                                  20   in [the warrant’s] lengthy list of items seized from [his] home, storage unit, car and clubhouse.”

                                  21   Id.

                                  22          The Government argues that “there existed probable cause to seize Hells Angels indicia

                                  23   from all of the location described” in the November 2017 search warrant and reiterates that the

                                  24   Menke Affidavit explained how the HASC is a subset of the transnational Hells Angels

                                  25   Motorcycle Club organization and that Wendt had a close relationship with the HASC, a fact that

                                  26   arises within the context of the Hells Angels generally. Opp’n at 15. As such, the Government

                                  27   claims that “items bearing Hells Angels indicia—even if not limited to items bearing Sonoma

                                  28   County indicia—seized from Wendt’s possession still constitute proof of Wendt’s participation in
                                                                                        18
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 19
                                                                                                   Page
                                                                                                      of 51
                                                                                                         19 of 51




                                   1   the offenses outlined in the affidavit, warrant, and attached indictment.” Id. at 16.

                                   2          “Whether a search exceeds the scope of a search warrant is an issue we determine through

                                   3   an objective assessment of the circumstances surrounding the issuance of the warrant, the contents

                                   4   of the search warrant, and the circumstances of the search.” United States v. Hitchcock, 286 F.3d

                                   5   1064, 1071 (9th Cir. 2002); see also United States v. Rettig, 589 F.2d 418, 423 (9th Cir. 1978) (“In

                                   6   determining whether or not a search is confined to its lawful scope, it is proper to consider both

                                   7   the purpose disclosed in the application for a warrant’s issuance and the manner of its

                                   8   execution.”). “The tests of what is necessary to ‘execute a warrant effectively’ is reasonableness.

                                   9   ‘An officer’s conduct in executing a search is subject to the Fourth Amendment’s mandate of

                                  10   reasonableness from the moment of the officer’s entry until the moment of departure.” San Jose

                                  11   Charter of Hells Angels Motorcycle Club v. City of San Jose, 402 F.3d 962, 971 (9th Cir. 2005)

                                  12   (citing Lawmaster v. Ward, 125 F.3d 1341, 1349 (10th Cir. 1997)). If the “scope of [a] search
Northern District of California
 United States District Court




                                  13   exceeds that permitted by the terms of a validly issued warrant . . . [the search and any] subsequent

                                  14   seizure [are] unconstitutional.” Horton v. California, 496 U.S. 128, 140 (1990).

                                  15          For example, in San Jose Charter of Hells Angels Motorcycle Club, the Ninth Circuit

                                  16   found the execution of search warrants at the residence of members of the Hells Angels

                                  17   unreasonable where “officers seized literally ‘truckloads’ of personal property for the sole purpose

                                  18   of showing in a murder prosecution that the Hells Angels had common symbols, which in turn

                                  19   would qualify it as a criminal street gang” and support a gang sentencing enhancement. 402 F.3d

                                  20   at 965. The Ninth Circuit noted that in seizing this indicia evidence, “the officers seized numerous

                                  21   expensive Harley-Davidson motorcycles, a concrete slab, and a refrigerator door and in so doing,

                                  22   caused significant damage to the items seized as well as to other property.” Id. at 965-966. The

                                  23   Ninth Circuit concluded that the “the authority to seize indicia evidence to support a sentencing

                                  24   enhancement [] did not justify the level of intrusion and excessive property damage that occurred

                                  25   during the search of the various locations.” Id. at 972. The Ninth Circuit explained that “indicia

                                  26   warrants, like many warrants, authorized the search of nearly every corner of the residence,” but

                                  27   are issued “to obtain evidence on just one fact—membership in the Hells Angels. Unlike most

                                  28   warrants, the evidence on this issue would be needlessly cumulative once enough evidence was
                                                                                        19
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 20
                                                                                                   Page
                                                                                                      of 51
                                                                                                         20 of 51




                                   1   obtained to establish membership.” Id. at 972 (citation omitted). The Ninth Circuit also explained

                                   2   that “any” does not equate to “all” with regard to the warrant’s direction to seize any indicia

                                   3   evidence and noted that “the record indicates that other officers understood that they had

                                   4   discretion not to seize items with Hells Angels indicia.” Id. at 974.

                                   5          Here, as noted above, Defendant Wendt appears incorrect as to his claim that evidence

                                   6   seized from his storage unit must be suppressed because no probable cause theory was provided as

                                   7   to the search of that location. See Footnote 2 (the Menke Affidavit and Menke Addendum were

                                   8   included and incorporated by reference in the search warrant for Defendant Wendt’s storage unit).

                                   9   As noted, the warrants were directed at searching for and seizing evidence of past and current

                                  10   criminal activity—the conduct of a RICO enterprise. Thus, given the relationship between the

                                  11   HASC and the Fresno HA and the events pertaining to the alleged Silva murder described in the

                                  12   Menke Affidavit, the search of Defendant Wendt’s storage unit for indicia of Hells Angels
Northern District of California
 United States District Court




                                  13   membership did not exceed per se the scope of the warrant. See United States v. Becker, 929 F.2d

                                  14   442, 446-47 (9th Cir. 1991) (reversing the district courts suppression order, holding that the initial

                                  15   search where agents jackhammered beneath a concrete slab to find aluminum pieces containing

                                  16   methamphetamine was within the scope of the initial broad warrant that permitted officers to

                                  17   search an entire residence and that search provided probable cause to obtain a second warrant for

                                  18   another similar search). As for Wendt’s specific claim pertaining to his Fresno HA motorcycle

                                  19   and Fresno HA indicia that were seized during the searches, evidence of Hells Angels membership

                                  20   generally might be evidence of a crime as it provides relevant background to his associating with

                                  21   the HASC to commit the Silva murder.

                                  22          However, the warrant’s reference to search and seizure of “any” Hells Angels indicia (see

                                  23   Attachments B1-B12), as in San Jose Charter of Hells Angels Motorcycle Club, did not authorize

                                  24   seizure of “all” such indicia. In San Jose Charter of Hells Angels Motorcycle Club, seizure of

                                  25   indicia evidence may be “needlessly cumulative once enough evidence was obtained to establish

                                  26   membership.” 402 F.3d at 972. This is especially true with respect to indicia of Hells Angels

                                  27   membership generally, as opposed to affiliation with the HASC. Defendant Wendt’s Fresno HA

                                  28   membership does not appear to be in dispute and he notes that “among the items seized were
                                                                                         20
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 21
                                                                                                   Page
                                                                                                      of 51
                                                                                                         21 of 51




                                   1   jewelry indicating ‘Fresno Hells Angels.’” Wendt Mot. at 41. As such, the seizure of his Fresno

                                   2   HA motorcycle was needlessly cumulative.

                                   3          Accordingly, the Court finds that the search of Defendant Wendt’s storage unit did not

                                   4   exceed the scope of the November 2017 warrant to search Wendt’s storage unit, but the seizure of

                                   5   his Fresno HA motorcycle was excessive and did exceed the scope of the November 2017 warrant

                                   6   pertaining to the search of his residence.

                                   7          5.      Specificity (Wendt and Nelson)

                                   8          Relatedly, Defendant Wendt argues that the November 2017 warrant failed to provide the

                                   9   specificity demanded by the Fourth Amendment. Went Mot. at 36. He specifically argues that the

                                  10   warrant is overbroad as it allowed the seizure of vast amounts of personal items, including

                                  11   jewelry, personal papers and effects, non-HASC motorcycles, and other personal memorabilia

                                  12   “belonging to Hells Angels Members, and in particular Brian Wendt, regardless of whether those
Northern District of California
 United States District Court




                                  13   items had any connection to the HASC.” Id. at 38. Further, Wendt claims that the warrant’s

                                  14   listing of “Evidence of Membership and Association to the Hells Angels and/or Hells Angels

                                  15   Sonoma County” is overbroad because it “authorized the seizure of virtually every single

                                  16   document, computer file, electronic device, cell phone, or physical item that is related in any way

                                  17   . . . to the larger Hells Angels global organization . . . as the warrant expressly provides, evidence

                                  18   of membership in ‘any motorcycle club.’” Id.4 Additionally, Wendt argues that the warrant is

                                  19   overbroad because it authorized the seizure of all electronic data without a time limitation

                                  20   regardless of ownership. Id. at 41. Moreover, he claims that the warrant is overbroad because it

                                  21   “is clear from the affidavit, that the agents were looking for evidence linking Brian Wendt to the

                                  22   alleged Silva homicide” and the “search and seizure of electronics should have been limited to that

                                  23   purpose” because there was “no probable cause to believe that evidence of the Sonoma RICO

                                  24   enterprise would be found inside a Fresno member’s home.” Id.

                                  25          Similarly, Defendant Nelson argues in his motion to suppress that the November 2017

                                  26
                                  27   4
                                         The Government states in its opposition that it will not seek to offer items seized from Wendt’s
                                  28   residence, storage unit, or the Fresno HA clubhouse “that pertain to motorcycle clubs other than
                                       the Hells Angels as evidence.” Opp’n at 16, n3.
                                                                                         21
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 22
                                                                                                   Page
                                                                                                      of 51
                                                                                                         22 of 51




                                   1   warrant that was issued by Magistrate Judge Spero for the search of 516 Frazier (HASC

                                   2   Clubhouse),5 91 Bailache, and 2765 Antelope Lane “lacked specificity with regard to computer

                                   3   equipment and cell phones” and “did not limit the scope of the seizure to a time frame . . . .”

                                   4   Nelson Mot. at 7-8. Specifically, Defendant Nelson argues that since the warrant failed “to

                                   5   describe with any particularity the items to be seized, the warrant is indistinguishable from the

                                   6   general warrants repeatedly held by the Ninth Circuit to be unconstitutional” and should be

                                   7   suppressed. Id. at 8.

                                   8          A warrant is overbroad if it fails to establish “probable cause to seize the particular thing[s]

                                   9   named in the warrant,” and courts will invalidate warrants “authorizing a search which exceeded

                                  10   the scope of the probable cause shown in the affidavit.” In re Grand Jury Subpoenas, 926 F.2d

                                  11   847, 857. For example, in SDI Future Health, the Ninth Circuit found that certain categories of

                                  12   items to be seized were overly broad, because the warrant failed “to describe the crimes and
Northern District of California
 United States District Court




                                  13   individuals under investigation” and, as a result, “provided the search team with discretion to seize

                                  14   records wholly unrelated to the” defendants’ finances. SDI Future Health, 568 F.3d at 705.

                                  15          The Fourth Amendment requires that a search warrant’s description of the things to be

                                  16   seized be “specific enough to enable the person conducting the search reasonably to identify the

                                  17   things authorized to be seized.” United States v. Spilotro, 800 F.2d 959, 963 (9th Cir. 1986). How

                                  18   specific the description needs to be varies according to the circumstances of the case, and the types

                                  19   of items the warrant seeks. Id. To determine whether a warrant is sufficiently particular, a court

                                  20   may look to one or more of the following factors: (1) “whether probable cause exists to seize all

                                  21   items of a particular type described in the warrant,” (2) “whether the warrant sets out objective

                                  22   standards by which executing officers can differentiate items subject to seizure from those which

                                  23   are not,” and (3) “whether the government was able to describe the items more particularly in light

                                  24   of the information available to it at the time the warrant was issued.” Id. (citations omitted). For

                                  25

                                  26   5
                                         As for Defendant Nelson’s claim that the evidence seized from the HASC clubhouse must be
                                  27   suppressed because the warrant lacked the requisite specificity, he fails to assert that he has
                                       standing to suppress evidence from that search. It is Defendant Nelson’s burden to prove
                                  28   standing, and since he did not attempt to do so, the Court finds his arguments related to the search
                                       of the HASC clubhouse waived.
                                                                                         22
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 23
                                                                                                   Page
                                                                                                      of 51
                                                                                                         23 of 51




                                   1   example, HA-related indicia, by its nature, is not amenable to a detailed description. See United

                                   2   States v. Cerna, No. CR 08–0730 WHA, 2010 WL 3749449, at *14 (N.D. Cal. Sept. 22, 2010)

                                   3   (“By its nature, gang-related indicia may include a broad swath of ‘everyday’ or ‘ordinary’ items

                                   4   that only become gang-related indicia in certain contexts or once certain modifications or

                                   5   inscriptions are made to the items.”).

                                   6          The Government argues that the warrants were sufficiently particular given the

                                   7   circumstances of the case and notes that Attachment B to the Menke Affidavit specifies categories

                                   8   of evidence (weapons possession, drug trafficking, etc.), “which are either limited by reference to

                                   9   specific offenses under investigation or by reference to specific physical items to be seized.”

                                  10   Opp’n at 14. As for overbreadth, the Government claims that the “warrant did not seek to search

                                  11   all Hells Angels offices and clubhouses; it sought evidence from Wendt’s home and storage unit,

                                  12   and from the Fresno clubhouse.” Id. at 15. The Government again argues that Wendt does not
Northern District of California
 United States District Court




                                  13   have standing to challenge the search of the Fresno HA clubhouse and reiterates that the Menke

                                  14   Affidavit details Wendt’s close relationship with the HASC. Id. As such, the Government states

                                  15   that, “[i]n any event, there existed probable cause to seize Hells Angels indicia from all of the

                                  16   locations described” in the warrant and emphasizes that “Wendt’s association with the Hells

                                  17   Angels as a whole, as well as the Fresno charter, is itself evidence of the RICO conspiracy alleged

                                  18   in the Menke Affidavit and attached indictment.” Id. at 16. The Government claims that

                                  19   Defendants’ overbreadth claims as to the lack of a time limitation on the seizure of all electronic

                                  20   data are “equally without merit.” Id. at 17. As for overbreadth pertaining to the electronic data

                                  21   and equipment generally, the Government emphasizes that the warrants at issue “did not authorize

                                  22   the seizure of every document from Wendt’s and Nelson’s electronic devices: only those that

                                  23   matched the specific descriptions outlined in Attachment B.” Id. at 18.

                                  24          In the event the Court finds that the portions of the warrants were overbroad, the

                                  25   Government argues that the agents executed the searches in good faith and as such, the good faith

                                  26   exception would apply. Opp’n at 19. The Government further claims that if the Court were to

                                  27   find portions of the warrant overbroad and that the good faith exception did not apply, “wholesale

                                  28   suppression would [] not be warranted.” Id. Instead, valid portions of an overbroad search warrant
                                                                                        23
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 24
                                                                                                   Page
                                                                                                      of 51
                                                                                                         24 of 51




                                   1   may be severed from the invalid portions and the search made pursuant to the valid portions

                                   2   upheld. See United States v. Sears, 411 F.3d 1124, 1129 (9th Cir. 2005) (the “doctrine of

                                   3   severance [] ‘allows a court to strike from a warrant those portions that are invalid and preserve

                                   4   those portions that satisfy the fourth amendment.’”) (Citation omitted). Moreover, the

                                   5   Government states that it “does not intend to offer as evidence one of the categories of evidence

                                   6   that Wendt attacks here: items related to “any other motorcycle club” seized from Wendt’s

                                   7   residence, his storage unit, and the Fresno clubhouse” and notes that Wendt “identifies no other

                                   8   categories of items that are subject to suppression.” Opp’n at 19-20.

                                   9          There are instances where a warrant is clearly overbroad, particularly in reference to

                                  10   specific crimes which provided a basis for the search. For instance, in Center Art Galleries-

                                  11   Hawaii, Inc., 875 F.2d at 750-51, the Ninth Circuit concluded that warrants authorizing the search

                                  12   of an art gallery for evidence of mail and wire fraud were overbroad. Notably, the Ninth Circuit
Northern District of California
 United States District Court




                                  13   found that the affidavit provided probable cause to search for evidence of mail and wire fraud

                                  14   involving the sale of forged Salvador Dali artwork, but the “government . . . failed to limit the

                                  15   warrants to items pertaining to the sale of Dali artwork despite the total absence of any evidence of

                                  16   criminal activity unrelated to Dali.” Id. at 750. Because approximately 80% of the plaintiff’s

                                  17   business concerned non-Dali art, the court also concluded that the “permeated-by-fraud” theory

                                  18   would not justify such a broad seizure of documents. Id.

                                  19          Similarly, in United States v. Kow, 58 F.3d 423, 427 (9th Cir. 1995), the Ninth Circuit

                                  20   found that the warrant that “authorized the seizure of virtually every document and computer file

                                  21   at HK Video” was unconstitutionally overbroad where it “contained no limitations on which

                                  22   documents within each category could be seized or suggested how they related to specific criminal

                                  23   activity.” Id. The Ninth Circuit explained that the generalized seizure of business records was not

                                  24   justified since the warrant “did not limit the scope of the seizure to a time frame within which the

                                  25   suspected criminal activity took place” and failed “to describe with any particularity the items to

                                  26   be seized.” Id. As such, the Ninth Circuit concluded that “the warrant [was] indistinguishable

                                  27   from the general warrants repeatedly held by this court to be unconstitutional.” Id. Additionally,

                                  28   the Ninth Circuit noted that the affidavit indicated a time frame for the alleged criminal activity
                                                                                         24
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 25
                                                                                                   Page
                                                                                                      of 51
                                                                                                         25 of 51




                                   1   and “summarized in detail the various locations within HK Video where officers could find

                                   2   relevant documents,” but emphasized that this information “was excluded from the warrant.” Id.

                                   3   The affidavit conceded that HK Video was a legitimate business and contained no allegation that

                                   4   HK Video was permeated with fraud or that the government could not reasonably segregate HK

                                   5   Video’s documents on the basis of whether or not they were likely to evidence criminal activity.

                                   6   Id. at 428.

                                   7           These cases are distinguishable. For example, unlike the evidence pertaining to the

                                   8   specific crimes of mail and wire fraud involving the sale of forged Salvador Dali artwork at issue

                                   9   in Center Art Galleries-Hawaii, Inc., the HASC enterprise evidence at issue here is arguably not

                                  10   amenable to a detailed description. See United States v. Cerna, 2010 WL 3749449, at *14.

                                  11   Additionally, unlike the affidavit in Kow, the Menke Affidavit was referenced in and attached to

                                  12   the November 2017 warrants and explained the multiple crimes under investigation: racketeering
Northern District of California
 United States District Court




                                  13   conspiracy; murder; robbery; drug trafficking; and witness intimidation, all spanning a period of

                                  14   years. Menke Affidavit ¶ 12, see also id. ¶ 1 (“This affidavit is submitted in support of

                                  15   applications to search various premises for evidence of racketeering conspiracy and associated

                                  16   crimes committed by members of the Hells Angels Sonoma County chapter (HASC) and their

                                  17   associates.”). Moreover, the Menke Affidavit described how the alleged criminal enterprise, the

                                  18   HASC, is a “subset of the transnational organization that is the Hells Angels motorcycle club,”

                                  19   and stated that members of the Sonoma County charter “enjoy[] close relationships with members

                                  20   of other Hells Angels chapters, particularly Fresno and Salem/Boston.” Id. ¶¶ 13, 28. Further, as

                                  21   noted above, it detailed Wendt’s cooperation with members of the Sonoma Charter in killing

                                  22   Silva. Id. ¶¶ 31-32. The Menke affidavit also describes that evidence of the crimes under

                                  23   investigation, including the ongoing RICO conspiracy involving both Nelson and Wendt, could be

                                  24   found in “rosters of HASC members,” “address books of HASC members and associates,”

                                  25   “communications to or from HASC members and associates and non-HASC members about

                                  26   criminal activity,” “audio and/or video recordings making reference to the Hells Angels” . . . all of

                                  27   which could be “stored in computer equipment and digital media.” Menke Affidavit ¶ 84(a)).

                                  28           Here, the warrants, as a whole, limited the search of electronic data to that evidencing
                                                                                        25
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 26
                                                                                                   Page
                                                                                                      of 51
                                                                                                         26 of 51




                                   1   specifically described crimes and incorporated procedural protocol to insure against unreasonably

                                   2   broad searches. Unlike the warrants at issue in SDI Future Health and Kow, the Menke Affidavit

                                   3   and Attachments B-1 to B-12 and B-17 to the affidavit provide limitations by specifying the types

                                   4   of evidence to be seized and how it relates to various RICO enterprise crimes. Additionally, the

                                   5   Menke affidavit’s reference to the “specific illegal activity” would also “provide substantive

                                   6   guidance for the [officers’] exercise of discretion in executing the warrant.” Spilotro, 800 F.2d at

                                   7   964. Further, the warrants also included a “Protocol for Searching Devices or Media that Store

                                   8   Data Electronically.” Wendt Mot., Ex. A at 93, Menke Affidavit, Attachment C; Nelson Mot.,

                                   9   Attachment 1 at 68, Menke Affidavit, Attachment C; Ott Mot., Ex. A at 72, Menke Affidavit,

                                  10   Attachment C. Those Protocols would also “provid[e] executing officers with sufficient objective

                                  11   standards for segregating responsive material from” non-responsive material on Defendants’

                                  12   computers and electronic media. See Flores, 802 F.3d at 1044 (finding that procedures for
Northern District of California
 United States District Court




                                  13   electronically stored information attached to warrant suggested warrant was not overbroad);

                                  14   United States v. Martinez, No. 19-CR-00662-JSW-1, 2020 WL 3050767, at *6-*7 (N.D. Cal. June

                                  15   8, 2020) (even though there was no specified time limit pertaining to the items seized in the

                                  16   warrant, the court concluded that a warrant was not facially overbroad where protocols for

                                  17   searching electronic devices and a list of types of evidence to be seized was attached to the

                                  18   warrant).

                                  19          Thus, although it appears that the warrants do not include a specific time limitation, the

                                  20   Court concludes that that does not render the warrants facially overbroad since the Attachments to

                                  21   the Menke Affidavit and the Affidavit’s reference to the specific illegal activity provided

                                  22   limitations and guidance. To the extent Defendant Wendt may be claiming that the warrant is

                                  23   overbroad because it did not place any limits on ownership, the Court does not find this argument

                                  24   persuasive. In United States v. Adjani, 452 F.3d 1140, 1146 (9th Cir. 2006) the Ninth Circuit

                                  25   stated it had “never held that agents may establish probable cause to search only those items

                                  26   owned or possessed by the criminal suspect. The law is to the contrary.” Rather, “[t]he critical

                                  27   element in a reasonable search is not that the owner of the property is suspected of crime but that

                                  28   there is reasonable cause to believe that the specific ‘things’ to be searched for and seized are
                                                                                         26
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 27
                                                                                                   Page
                                                                                                      of 51
                                                                                                         27 of 51




                                   1   located on the property to which entry is sought.” Zurcher v. Stanford Daily, 436 U.S. 547, 556

                                   2   (1978).

                                   3             Accordingly, the Court finds that the November 2017 warrants provided the requisite

                                   4   specificity.

                                   5             6.     Material Omissions in the Menke Affidavit

                                   6             Defendant Wendt argues that the search warrant is invalid and a Franks hearing is

                                   7   necessary because the Menke Affidavit includes several material omissions and false/misleading

                                   8   allegations of fact. See Wendt Mot. at 44-50.

                                   9             Defendant Wendt claims that the Menke Affidavit contains false statements about the role

                                  10   of Sergeant at Arms generally and specifically with regard to Wendt and his role as the Fresno HA

                                  11   President and the Sergeant at Arms for the West Coast Region of the National Hells Angels

                                  12   Motorcycle Club. Id. at 45. Further, Wendt specifically lists the following alleged “material
Northern District of California
 United States District Court




                                  13   omissions of fact—exculpatory information—that was intentionally withheld” from the issuing

                                  14   magistrate: (1) a witness informed agents that he did not believe Silva was killed at all and that it

                                  15   was more likely he was told to leave and not return; (2) an informant provided information that he

                                  16   had been informed that Silva had been voted out the HASC for bullying individuals and was in

                                  17   bad standing, and that Silva had disappeared before for approximately one year before returning;

                                  18   (3) follow-up interviews of a source who stated that he heard about Silva’s alleged disappearance

                                  19   without hearing any connection to Wendt and that he believed Silva’s burned truck was related to

                                  20   Silva’s practice of committing insurance fraud; (4) the statement of an informant who told law

                                  21   enforcement that he was asked by an HASC member to go with him to take Silva’s body and

                                  22   dump it in the ocean and that he attended said dumping over the cliffs somewhere north of Sea

                                  23   Ranch, CA, and afterward was given the bloody gun to dispose; (5) information from an informant

                                  24   who stated that Damien Cesena was the person who killed Silva and also claimed to know where

                                  25   the body was buried; (6) the fact that agents knew that “CI-1” was not a member of Salem/Boston,

                                  26   Sonoma or Fresno chapters of the Hells Angels, but had been a                member, and did not

                                  27   have meaningful access to the private meetings or information of chapters other than his own; and

                                  28   (7) the fact that agents met CI-1 in 2016 and he had a criminal record and was hoping to receive
                                                                                         27
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 28
                                                                                                   Page
                                                                                                      of 51
                                                                                                         28 of 51




                                   1   consideration for information in the form of leniency based on his arrest.6 Id. at 46-47.

                                   2          A defendant is entitled to an evidentiary hearing regarding the validity of a search warrant

                                   3   only if he makes a preliminary showing that: (1) the affiant intentionally or recklessly included a

                                   4   false statement in the warrant application; and (2) the false statement was material to the issuing

                                   5   judge's determination of probable cause. Franks v. Delaware, 438 U.S. 154, 155-56 (1978).

                                   6   Notably, “omissions are made with reckless disregard for the truth when an officer recklessly

                                   7   omits facts that any reasonable person would know that a judge would want to know” and

                                   8   “assertions are made with reckless disregard for the truth when an officer has obvious reasons to

                                   9   doubt the truth of what he or she is asserting.” Wilson v. Russo, 212 F.3d 781, 783 (3d Cir. 2000).

                                  10   For example, in United States v. Jacobs, 986 F.2d 1231, 1235 (8th Cir. 1993), the court found that

                                  11   the officer acted with reckless disregard when he told the magistrate that a drug sniffing dog

                                  12   showed “interest” in the defendant’s bag but failed to inform the magistrate that the dog had not
Northern District of California
 United States District Court




                                  13   gone into “alert.” Id. at 1234. “Because of the highly relevant nature of the omitted information,”

                                  14   the court concluded that “the omission occurred at least with reckless disregard of its effect upon

                                  15   the affidavit.” Id. The defendant bears the burden of proof and must make a “substantial

                                  16   showing” as to both the required mental state of the affiant and the materiality of the alleged

                                  17   misstatements or omissions. United States v. Chavez-Miranda, 306 F.3d 973, 979 (9th Cir. 2002).

                                  18   “In doubtful cases, preference should be given to the validity of the warrant.” United States v.

                                  19   Romero, 382 F. Supp. 3d 966, 976 (E.D. Cal. 2019) (United States v. Souffront, 338 F.3d 809, 822

                                  20   (7th Cir. 2003)).

                                  21          Material omissions can likewise form the basis of a Franks hearing. United States v.

                                  22   Stanert, 762 F.2d775, 781 (9th Cir. 1985). Specifically, a defendant must satisfy five

                                  23   requirements to warrant a Franks hearing: (1) the defendant must allege specifically which

                                  24   portions of the warrant affidavit are claimed to be false; (2) the defendant must contend that the

                                  25

                                  26   6
                                        Wendt’s counsel acknowledged that the statements claiming that Detective Menke omitted that
                                  27   CI-1 had a criminal record were incorrect and clarified that she intended to state that “Detective
                                       Menke omitted information that CI-1 had a felony arrest record” and had “already received (or
                                  28   was expecting to receive) consideration for what appears to have been an arrest on felony
                                       charges.” McClure Supp. Decl. at 2.
                                                                                       28
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 29
                                                                                                   Page
                                                                                                      of 51
                                                                                                         29 of 51




                                   1   false statements or omissions were deliberately or recklessly made; (3) a detailed offer of proof,

                                   2   including affidavits, must accompany the allegations; (4) the veracity of only the affiant must be

                                   3   challenged; and (5) the challenged statements must be necessary to find probable cause. United

                                   4   States v. DiCesare, 765 F.2d 890, 894-95 (9th Cir. 1985) (internal citations omitted). If, after

                                   5   excising the challenged statements, the remaining allegations in the affidavit support a finding of

                                   6   probable cause, the Court should deny the request for a Franks hearing. Id. at 895; see also

                                   7   United States v. Medina Casteneda, 511 F.3d 1246, 1250 (9th Cir. 2008) (no hearing required

                                   8   where, even considering omitted exculpatory information, the warrant contained probable cause).

                                   9   Whether a defendant is entitled to a Franks hearing is a mixed question of law and fact. See

                                  10   Dozier, 844 F.2d at 704. When considering a Franks challenge, courts must read affidavits in a

                                  11   “commonsense and realistic fashion.” Ventresca, 380 U.S. at 108.

                                  12          The Government argues that there were no material omissions in the Menke Affidavit and
Northern District of California
 United States District Court




                                  13   that Wendt’s “principal argument” in support of a Franks hearing “is itself based on an obvious

                                  14   falsehood.” Opp’n at 29. Moreover, the Government claims that “[a] commonsense reading of

                                  15   the entire Menke Affidavit leads to the conclusion that Det. Menke believed that the manner of

                                  16   Silva’s murder and cremation he presented was accurate and consistent with the available

                                  17   evidence.” Id. Further, the Government emphasizes that “there is no requirement that the

                                  18   detective must include [] different versions of [an] event that he does not credit, that were made by

                                  19   people without information, that were inconsistent with the evidence, or that were plainly false.”

                                  20   Id.

                                  21          As for Wendt’s claim that the Menke Affidavit contains false statements about the role of

                                  22   the Sergeant at Arms in the HASC and in the Hells Angels Motorcycle Club in general, Wendt

                                  23   offers nothing to support this claim aside from counsel’s allegations. Thus, he fails to make a

                                  24   “substantial showing” as to the required mental state of the Menke. Nor has he shown the

                                  25   materiality of the alleged misstatements. Chavez-Miranda, 306 F.3d at 979.

                                  26          As for CI-1’s criminal history and the fact that agents knew he was not a member of the

                                  27   Salem, Fresno, or HASC charters, the Menke Affidavit explicitly states that CI-1 had a criminal

                                  28   record and came forward with information about Silva’s disappearance following an unrelated
                                                                                        29
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 30
                                                                                                   Page
                                                                                                      of 51
                                                                                                         30 of 51




                                   1   arrest. Menke Affidavit ¶ 56. Notably, Wendt’s counsel acknowledged that the Menke Affidavit

                                   2   did state that CI-1 had been arrested for criminal offenses in a supplemental declaration. McClure

                                   3   Supp. Decl. at 1. As to Counsel’s point that the Menke Affidavit omitted that CI-1 specifically

                                   4   had a felony arrest record and that he had either received or was expecting to receive consideration

                                   5   for what appears to have been felony charges, Menke did note that CI-1 had a criminal record and

                                   6   came forward following an unrelated arrest. CI-1 faced criminal sanctions with a prior criminal

                                   7   record. While Menke should have included details of CI-1’s record and nature of current charges,

                                   8   the fact of a felony arrest record and possibility that CI-1 was facing felony charges was not

                                   9   necessary for a finding of probable cause. His incentive to cooperate and provide information was

                                  10   evident. Moreover, the information CI-1 provided was specific and consistent with other

                                  11   information (such as CI-1’s claim that Wendt shot Silva at the Fresno HA clubhouse in mid-July

                                  12   2014 in the presence of Defendant Ott that is corroborated by cell phone records and cell tower
Northern District of California
 United States District Court




                                  13   analysis pertaining to Silva’s cell phone, calls, and text messages that show that his cell phone

                                  14   pinged a Fresno cell tower and was in the same vicinity of Ott’s cell phone on July 15, 2014 and

                                  15   that it was also in the vicinity of the Fresno charter clubhouse) and thus contained an indicia of

                                  16   reliability. As to whether CI-1 was a member of the Sonoma, Fresno, or Salem Hells Angels

                                  17   charters, there is no suggestion in the Menke Affidavit that he was such a member, and hence

                                  18   there was no material omission. CI-1’s information as to the murder and incineration of Silva is

                                  19   based on conversations directly with Wendt himself and with then-Fresno Hells Angel Robbie

                                  20   Huff. See Menke Affidavit ¶ 58. As such, whether CI-1 had access to weekly HASC meetings is

                                  21   not material.

                                  22          As for Wendt’s claim that Menke omitted alternate theories regarding Silva’s

                                  23   disappearance that did not involve Wendt and information from a confidential informant about

                                  24   Silva’s disappearance, Menke’s affidavit states that it “does not present all the facts known to me

                                  25   during the investigation discussed below, but just those pertinent to support probable cause.” Id. ¶

                                  26   2. “An affidavit is not a bench memorandum that evenly lays out both sides of an argument. It is

                                  27   a fair assumption that Defendants would have a defense to the facts asserted in the affidavit, and

                                  28   the affiant is not required to present the Defendants’ case to the magistrate judge.” USA v. Liang
                                                                                        30
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 31
                                                                                                   Page
                                                                                                      of 51
                                                                                                         31 of 51




                                   1   Chen, No. 17-CR-00603-BLF-1, 2020 WL 6585803, at *6 (N.D. Cal. Nov. 10, 2020). Here, the

                                   2   omission of asserted facts regarding alternative explanations for Silva’s disappearance does not

                                   3   undermine the warrant.

                                   4          First, Wendt has not established that Menke’s omissions were intentional or reckless.

                                   5   Considering the facts set forth in the police reports and the affidavit itself, Menke could well have

                                   6   concluded that various confidential informants and sources describing the murder as charged were

                                   7   more credible than the witnesses who put forth the various alternative theories for what happened

                                   8   to Silva. For example, Menke could have found the alternative theories that Silva had disappeared

                                   9   like he had done previously for year or that he left because he had been voted out of the HASC

                                  10   improbable as Silva had not been heard from in about three years. As for the source that stated

                                  11   that he heard about Silva’s disappearance without hearing any connection to Wendt and that he

                                  12   believed Silva’s burned truck was related to Silva’s practice of committing insurance fraud,
Northern District of California
 United States District Court




                                  13   Menke could have found this source lacked credibility as to what precisely happened to Silva.

                                  14   Notably, Exhibit H of the McClure Decl. at WA-0002969 shows that this source did not know

                                  15   what exactly happened to Silva. Rather, the source states that Nelson told him that he “was tired

                                  16   of Silva” and that Silva had been causing problems for the HASC and that “Nelson had to go to

                                  17   Europe to address the issue.” Exhibit H at 5; Docket No. 2068-11. Moreover, this source

                                  18   arguably corroborates the Menke Affidavit as the affidavit notes that Silva’s “status within the

                                  19   HASC became perilous as his drug use became more severe. Leading up to the Summer of 2014,

                                  20   the leadership of the HASC and related chapters such as the Fresno and Salem/Boston Hells

                                  21   Angels began viewing Silva’s erratic behavior as increasingly problematic.” Menke Affidavit ¶

                                  22   31. The source also notes that “Silva and Ott went to a party in either Fresno or Modesto” and

                                  23   later Silva’s truck was found burned and he “thought it was related to Silva’s practice of using

                                  24   insurance fraud to make money.” Exhibit H at 5. This information arguably in part strengthens

                                  25   the probable cause finding as the Menke Affidavit states, “According to CI-1, Silva went to the

                                  26   Fresno Hells Angels clubhouse in mid-July 2014 with HASC member Russell Ott to meet with

                                  27   Wendt. In the clubhouse, Wendt directed Silva to inspect some marijuana, and when Silva bent

                                  28   down to do so, Wendt shot him in the back of the head.” Menke Affidavit ¶ 58. Speculation that
                                                                                        31
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 32
                                                                                                   Page
                                                                                                      of 51
                                                                                                         32 of 51




                                   1   the truck was burned for insurance could have been discounted given Silva’s complete

                                   2   disappearance. As for the other sources in Exhibits I and J to the McClure Declaration that

                                   3   claimed they had some role in the disposal of Silva’s body or other bodies of people killed on

                                   4   behalf of the Hells Angels, agents investigated these claims and found them to be meritless. See

                                   5   Exhibits I & J, Docket Nos. 2068-12, 2068-13. Thus, that was arguably not information that a

                                   6   judge would want to know. See Russo, 212 F.3d at 788. Because of the improbability of the

                                   7   alternative theories and the witnesses’ lack of credibility, Wendt has failed to establish that the

                                   8   omissions were material to the probable cause finding.

                                   9          Wendt’s omission claims focus on the portion of the affidavit pertaining to the Silva

                                  10   murder. However, the November 2017 warrant sought evidence of a RICO conspiracy where the

                                  11   Silva murder was merely one of the enterprise acts explained in the lengthy affidavit. As noted,

                                  12   the Menke Affidavit included numerous facts establishing probable cause in support of warrant
Northern District of California
 United States District Court




                                  13   applications to search various premises for RICO enterprise evidence. See Menke Affidavit id. ¶¶

                                  14   60-65 (armed robbery), id. ¶¶ 66-67, 68-70 (witness intimidation), id. ¶¶ 71, 72 (drug tracking), id.

                                  15   ¶ 72 (bank fraud).

                                  16          Accordingly, the Court finds that the alleged misstatements and omissions noted by

                                  17   Defendant Wendt do not satisfy the Franks standard. See United States v. Bergren, No. C 12-

                                  18   00119 SI, 2014 WL 1217981, at *6-*7 (N.D. Cal. Mar. 21, 2014) (holding that “even if the

                                  19   witness statements were inconsistent with the CI’s statement, that would still not be enough to

                                  20   sustain the defendant’s burden under Franks” because the defendant still needs to prove that the

                                  21   affiant intentionally or reckless omitted facts and that those facts were material to the probable

                                  22   cause finding).

                                  23          7.         Good Faith Exception

                                  24          The Government maintains that probable cause existed for all of the searches but claims in

                                  25   the alternative that suppression is not warranted since the agents executing the warrants relied

                                  26   upon them in good faith. Opp’n at 51. The Government argues that there is no indication that a

                                  27   reasonably well-trained officer would have known that any of the searches were illegal in light of

                                  28   all of the circumstances and notes that everything indicated the opposite. Id. at 52. The
                                                                                         32
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 33
                                                                                                   Page
                                                                                                      of 51
                                                                                                         33 of 51




                                   1   Government notes that “this was a serious case with federal charges for which the Grand Jury

                                   2   found probable cause; an AUSA approved the form of the warrant; and a United States Magistrate

                                   3   Judge authorized the search of multiple locations.” Id. As such, the Government claims that

                                   4   “there is no warranted punishment here because any reasonable officer would have relied upon the

                                   5   warrants in good faith.” Id.

                                   6          Where a warrant is unsupported by probable cause, evidence obtained from the warrant's

                                   7   execution may be excluded. Weeks v. United States, 232 U.S. 383. Additionally, “the

                                   8   exclusionary rule generally bars admission of the evidence seized that was beyond the scope of the

                                   9   warrant.” U.S. v. Sedaghaty, 728 F.3d 885, 915 (9th Cir. 2013). However, the good faith

                                  10   exception to this general rule of exclusion applies where an officer acted in “good faith” or “in

                                  11   objectively reasonable reliance” when executing an unconstitutional search warrant. United States

                                  12   v. Leon, 468 U.S. 897 (1984) (holding that the officer’s reasonable reliance on a warrant later held
Northern District of California
 United States District Court




                                  13   to be invalid met the good faith exception). The burden of demonstrating good faith rests with the

                                  14   government. Kow, 58 F.3d at 428. There are also exceptions to the exception: where the affiant

                                  15   misled the magistrate, where the magistrate abandoned his or her judicial role, where the affidavit

                                  16   is “so lacking in indicia of probable cause as to render official belief in its existence entirely

                                  17   unreasonable,” and where the warrant is so vague as to be facially deficient. Leon, 468 U.S. at

                                  18   922-23.

                                  19          As detailed above, the Court finds that the evidence presented in the Menke Affidavit did

                                  20   not provide a substantial basis for the issuing judge to find that there was a fair probability that

                                  21   evidence of HASC related drug trafficking would be found in the execution of the 2017 search

                                  22   warrants pertaining to Wendt’s home, vehicle, storage unit, and the Fresno HA Clubhouse. There

                                  23   was no evidence that Wendt has anything to do with alleged HASC drug trafficking. Further, it

                                  24   does not appear that Wendt himself has ever been charged or convicted of a drug related offense.

                                  25   As such, the Court finds that the Menke Affidavit was “so lacking in indicia of probable cause” as

                                  26   to Wendt’s involvement with HASC related drug trafficking that the officers’ “belief in its

                                  27   existence [was] entirely unreasonable.” Leon, 468 U.S. at 922-23. Additionally, as noted above,

                                  28   the Court finds the seizure of Wendt’s Fresno HA motorcycle excessive as it was needlessly
                                                                                          33
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 34
                                                                                                   Page
                                                                                                      of 51
                                                                                                         34 of 51




                                   1   cumulative. In 2005, the Ninth Circuit explained in San Jose Charter of Hells Angels Motorcycle

                                   2   Club that intrusive and excessive seizure of indicia evidence may be “needlessly cumulative once

                                   3   enough evidence was obtained to establish membership.” 402 F.3d at 972. Here, Wendt’s Fresno

                                   4   HA membership does not appear to be in dispute and the seizure of his Fresno HA motorcycle for

                                   5   purposes of indicia evidence is needlessly cumulative. Given that the Ninth Circuit’s precedent in

                                   6   San Jose Charter of Hells Angels Motorcycle Club involving the Hells Angels had been set almost

                                   7   a decade prior to the challenged searches, the Ninth Circuit’s message was clear. The Court finds

                                   8   that the officers did not act in good faith when seizing Wendt’s Fresno HA motorcycle.

                                   9          As such, the Court finds that the good faith exception to the exclusionary rule does not

                                  10   apply to the seizure of any drug evidence found at the locations searched pertaining to Defendant

                                  11   Wendt as well as his Fresno HA motorcycle. Thus, the Court GRANTS Wendt’s motion to

                                  12   suppress this evidence.
Northern District of California
 United States District Court




                                  13   B.     Defendant Jonathan Nelson

                                  14          Defendant Nelson moves to suppress evidence seized pursuant to November 2017 search

                                  15   warrant issued for the following locations: (1)                      , Santa Rosa, California 9540;

                                  16   (2)                  , Healdsburg, California 95448; (3)                   ., Santa Rosa, California

                                  17   95404. Nelson Mot. at 5-7.

                                  18          1.      Probable Cause as to Nelson’s Locations

                                  19          Defendant Nelson specifically claims that suppression is warranted because there is an

                                  20   insufficient nexus between the Bailache Avenue and Antelope Lane properties and alleged

                                  21   criminal activity to support probable cause for a search warrant for those locations. Id. at 5.

                                  22   Nelson argues that there is an insufficient showing that evidence of any crimes will be located at

                                  23   the Bailache Avenue property (the business location for Nelson Brothers Painting) to support

                                  24   probable cause since there is no mention of “any criminal connection between Nelson Brothers

                                  25   Painting and the alleged HASC RICO enterprise” in the November 2017 warrant issued by

                                  26   Magistrate Judge Spero. Id. Further, Nelson claims that there is an insufficient showing that he

                                  27   resided at the Antelope Lane residence. Id. at 6. He states that the “affidavit provides scant

                                  28   evidence” that he resided at the Antelope Lane premises and notes that there “are a total of three
                                                                                         34
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 35
                                                                                                   Page
                                                                                                      of 51
                                                                                                         35 of 51




                                   1   bases for his residency” presented to Judge Spero:

                                   2                   (1) a vehicle (black Chevy pickup) registered to “Nelson” parked in
                                                       the driveway on a single day a month before the warrant; (2) a white
                                   3                   Mercedes not registered to him (a non-HASC member named
                                                       Damien O’Neill) on one occasion and subsequently seen at the
                                   4                   HASC Clubhouse on Frazier Avenue; and (3) a single observation
                                                       of Jonathan Nelson arriving in the white Mercedes and opening the
                                   5                   door of the residence with a key, about a month before the warrant.
                                   6   Id. Additionally, he states that this “thin presentation” that he resided at the Antelope Lane

                                   7   premises “is remarkable when compared to the evidence of residency of other locations for which

                                   8   searches were requested in the same affidavit.” Id.

                                   9           The Government argues that there was probable cause to search Defendant Nelson’s

                                  10   locations and notes that the Menke Affidavit “contains facts demonstrating that Nelson was tightly

                                  11   connected with HASC” and discusses his close relationship with other HA charters. Opp’n at 20.

                                  12   The Government emphasizes that the Menke Affidavit notes that an “earlier search of Nelson’s
Northern District of California
 United States District Court




                                  13   residence uncovered HASC paraphernalia, along with several firearms” and “surveillance of

                                  14   Nelson’s business showed several HASC members coming and going from that location.” Id.

                                  15   Further, the Government claims that Nelson “ignores that the point of the search was not for

                                  16   evidence of illegal weapons possession—it was for evidence of the RICO conspiracy . . .” and that

                                  17   “weapons possession is among the types of evidence that qualify under this umbrella, as is

                                  18   evidence of HASC association.” Id. at 21. As for the search of the Antelope Lane residence, the

                                  19   Government states that despite Nelson’s allegation that the probable cause in the Menke Affidavit

                                  20   was thin, it “nevertheless provided a sufficient connection between Nelson to his residence for

                                  21   Judge Spero to issue the warrant . . . .” Id. at 22. Finally, the Government claims that “the

                                  22   quantity of probable cause enabled agents executing the warrant on 2765 Antelope Lane to rely on

                                  23   it in good faith.” Id.

                                  24           The evidence here provided a substantial basis for the issuing judge to find that there was a

                                  25   fair probability that RICO enterprise evidence would be found in the execution of the November

                                  26   2017 warrant at both the Bailache Avenue and Antelope Lane premises. As noted, the Menke

                                  27   Affidavit details Nelson’s close connection to the HASC, noting his role as the charter president.

                                  28   Menke Affidavit ¶¶ 23, 31, 57. The Menke Affidavit specifically states that due to Silva’s erratic
                                                                                        35
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 36
                                                                                                   Page
                                                                                                      of 51
                                                                                                         36 of 51




                                   1   behavior and threat to kill Christopher Ranieri, Wendt “decided that Silva had to be killed” and

                                   2   “quickly secured the agreement” of HASC President Nelson, “who put a plan in place.” Id. ¶ 31.

                                   3   Additionally, the affidavit details how Nelson, along with fellow HASC member, Damien Cesena,

                                   4   took all of Silva’s HASC-related possessions from Silva’s residence following his disappearance.

                                   5   Id. ¶ 38. Further, the affidavit notes that Nelson participated in another racketeering act, the

                                   6   November 26, 2017 assault on an HASC member Victim 4. Id. at ¶ 68. The affidavit states that

                                   7   Victim 4 was initially attacked by HASC members Raymond Foakes and Russell Lyles, but that

                                   8   Nelson joined the assault and hit Victim 4 in the left side of the face with a handgun, causing the

                                   9   bones around Victim 4’s left eye to break. Id. ¶ 69. Nelson also struck “Victim 4 with a whip

                                  10   during the assault.” Id. Victim 4 noted that not all HASC members took part in the assault on him

                                  11   and that at times during the assault, his face was covered with a hood or a sheet. Id. Additionally,

                                  12   while Victim 4 was detained at clubhouse being assaulted, HASC members Cesena, Fonteno,
Northern District of California
 United States District Court




                                  13   Diaz, Lyles, and Johnson went to Victim 4’s house and took all of his HASC paraphernalia,

                                  14   including his motorcycle. Id. ¶ 70. Victim 4 was eventually transported to his residence by

                                  15   HASC members and then hospitalized. Id. ¶ 71. Menke states that he observed “significant

                                  16   injuries all over Victim 4’s body; with the most visible being to Victim 4’s face and abdomen.

                                  17   Victim 4 had fresh tattooing to the forehead, the left side upper chest, and middle of upper back.”

                                  18   Id. Menke notes that there was still dried blood on Victim 4’s face and that his nose was clearly

                                  19   broken. Id.

                                  20          Additionally, Menke states that he sought a search warrant for the cell phone records of

                                  21   various HASC members, including Nelson, pertaining to the night hours on November 26, 2016.

                                  22   Id. ¶ 73. The cell records showed “numerous calls and text messages between HASC members

                                  23   prior to, during, and following the assault on Victim 4” and that the cell phones for various

                                  24   members, including Nelson, pinged “cell phone towers in the vicinity of the HASC clubhouse.”

                                  25   Id. Menke states that this “is consistent with their having possessed their cell phones while being

                                  26   present for the assault on Victim 4.” Id.

                                  27          Additionally, Menke states that during a July 2, 2008 search of Nelson’s residence

                                  28   Petaluma Police Department Officers located HASC paraphernalia, several firearms, and several
                                                                                         36
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 37
                                                                                                   Page
                                                                                                      of 51
                                                                                                         37 of 51




                                   1   boxes of ammunition. Id. ¶ 84(b)(i). Menke also states that based on his “training and experience;

                                   2   coupled with the [various racketeering acts and incidents detailed in the affidavit], it is [his]

                                   3   opinion that outlaw motorcycle gang members will often possess weapons, specifically firearms,

                                   4   for protection and as tools used in crimes with fellow gang members. Id. ¶ 84(v). Menke notes

                                   5   that “Gang members will in some cases retrieve weapons from a fellow member and keep them at

                                   6   their residences or in their vehicles or on their person when they believe the member would no

                                   7   longer be subject to a search. It is also my opinion that gang members will store, hold, keep, and

                                   8   conceal weapons to be used by the entire membership should the need arise.” Id.

                                   9          As for the Bailache Avenue business location, Menke specifically states that surveillance

                                  10   of Nelson’s business, Nelson Brothers Painting, showed that several HASC members including

                                  11   David Diaz, Ott, and Nelson had vehicles that were registered to them parked at various times near

                                  12   the business. Id. ¶ 93. Additionally, on September 26, 2017, CI-2 related that “Nelson had a gun
Northern District of California
 United States District Court




                                  13   in the desk in the front office of this location and a second gun in the shop somewhere. CI-2 also

                                  14   knew there were motorcycle parts in the connex boxes next to Nelson’s shop.” Id. The Menke

                                  15   Affidavit also notes that the “motorcycle is often taken from [a] removed [HASC] member’s

                                  16   residence. In several cases, the motorcycles are taken following a violence incident in which the

                                  17   removed member may be assaulted or killed.” Id. ¶ 84(g)(ii). Menke notes that HASC member

                                  18   Cesena was “in possession of parts from Silva’s motorcycle following his murder” and states that

                                  19   “possession of these motorcycles and/or parts of motorcycles can be evidence of corresponding

                                  20   crimes.” Id.

                                  21          As for the Antelope Lane residence, the Menke Affidavit specifically states that this

                                  22   location is Nelson’s residence and notes that his vehicle is registered to a P.O. Box associated with

                                  23   a Healdsburg, California address. Id. ¶ 95. Menke states that he conducted “a passing check” at

                                  24   this location and saw a black Chevy pickup truck that is registered to Nelson parked in the

                                  25   driveway on October 5, 2017. Id. Additionally, physical surveillance of the residence was

                                  26   conducted and an agent observed Nelson using a “key to open the front door” of the residence. Id.

                                  27          Accordingly, the Court finds that warrant to search both the Antelope Laine and the

                                  28   Bailache Avenue premises was supported by probable cause. See Bergren, 2014 WL 1217981, at
                                                                                          37
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 38
                                                                                                   Page
                                                                                                      of 51
                                                                                                         38 of 51




                                   1   *6-*7 (finding that search warrant was supported by probable cause where the affidavit was

                                   2   sufficient for the issuing judge to conclude that evidence of gang membership would be found

                                   3   during the execution of the warrant since the affidavit contained numerous details that the

                                   4   defendant was associated with a gang and stated the affiant’s belief that gang members keep gang

                                   5   related items in their homes). However, the Court notes that the probable cause supporting that

                                   6   Nelson resided at the Antelope Lane residence is thin but sufficient. See Ventresca, 380 U.S. at

                                   7   109 (“[a]lthough in a particular case it may not be easy to determine when an affidavit

                                   8   demonstrates the existence of probable cause, the resolution of doubtful or marginal cases in this

                                   9   area should largely be determined by the preference to be accorded to warrants”); Crews, 502 F.3d

                                  10   at 1135 (9th Cir. 2007) (“In borderline cases, preference will be accorded to warrants and to the

                                  11   decision of the magistrate issuing it.”). In any event, suppression would not be warranted under

                                  12   the good faith standard of Leon.
Northern District of California
 United States District Court




                                  13   C.     Defendant Russell “Rusty” Ott

                                  14          Similarly, Defendant Ott moves to suppress evidence seized from his residence at 129

                                  15   Carrillo Street and the HASC clubhouse at 516 Frazier Avenue pursuant to the November 2017

                                  16   search warrant that was issued by Magistrate Judge Spero. Ott Mot. at 1.

                                  17          1.      Probable Cause as to Ott’s Residence

                                  18          Defendant Ott moves to suppress evidence seized from his residence because he claims

                                  19   there was no probable cause to support the search. Id. at 8. First Defendant Ott notes that the

                                  20   warrant’s date is incorrect as it is dated with the year 2016 instead of 2017 and claims that

                                  21   Magistrate Judge Spero “was perhaps too detached” when issuing this warrant. Id. Second, Ott

                                  22   states that the Menke Affidavit reads “like proffered expert opinion regarding the Hells Angels

                                  23   Motorcycle Club in general” and the HASC in particular and claims that Menke failed to establish

                                  24   that he is an expert in these areas. Id. at 9. Additionally, Ott claims that the Menke Affidavit does

                                  25   not allege that he was complicit in the murder of Silva and as such, the search of his residence was

                                  26   a “fishing expedition.” Id. at 11.

                                  27          The Government emphasizes that the Menke Affidavit describes Ott’s close connection to

                                  28   the HASC enterprise, “including his role as president for over a decade and a half” and his critical
                                                                                        38
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 39
                                                                                                   Page
                                                                                                      of 51
                                                                                                         39 of 51




                                   1   role in the Silva murder and coverup. Id. at 22. The Menke Affidavit states that Defendant Ott

                                   2   played a role in the murder of Mr. Silva by traveling with him to Fresno, where he would be

                                   3   murdered, and in any event emphasizes that the “object of the search was evidence of RICO

                                   4   conspiracy,” not just the single act of Silva’s murder. Id. at 25.

                                   5          As for Ott’s Carillo Street residence, the Menke Affidavit specifically states that it is an

                                   6   apartment that “is located above the apartment Silva had been living in at the time of his

                                   7   disappearance ” and that Menke observed Ott driving a silver Harley Davidson motorcycle from

                                   8   the HASC clubhouse area to his Carillo Street driveway. Id. ¶ 108. Notably, the Menke Affidavit

                                   9   also states that “Silva’s mother also reported that she learned that Silva’s motorcycle was at the

                                  10   HASC clubhouse at some point.” Id. ¶ 39. Moreover, Menke notes that on October 5, 2017, he

                                  11   conducted a passing check on the location and observed a motorcycle across from the driveway

                                  12   that was “under a tarp,” suggesting that Silva’s motorcycle could have been the motorcycle at
Northern District of California
 United States District Court




                                  13   Ott’s residence. Id. ¶ 108. As noted, the Menke Affidavit notes that HASC members confiscated

                                  14   HASC motorcycles from removed members and that motorcycle parts from removed member’s

                                  15   bikes have been found in the possession of other HASC members. See id. ¶ 84(g)(ii).

                                  16   Additionally, as noted above, the Menke Affidavit details the affiant’s belief that gang members

                                  17   hold onto and conceal weapons to be “used by the entire membership should the need arise” and

                                  18   that firearms and the type of personal item often stored in a residence or vehicle. See id. ¶ 84(v).

                                  19          Thus, the Court finds that affidavit provided a substantial basis for the issuing judge to find

                                  20   that there was a fair probability that enterprise evidence would be found at Ott’s Carillo Street

                                  21   residence and as such, was supported by probable cause. Notably, as discussed below, the Court

                                  22   need not analyze whether there was probable cause to search the HASC clubhouse as to Defendant

                                  23   Ott since the Court finds that he does not have standing to challenge that search.

                                  24          2.      Ott’s Standing as to the HASC Clubhouse

                                  25          Defendant Ott argues that he has standing to challenge the search of his residence and the

                                  26   HASC clubhouse. Ott Mot. at 8. Defendant Ott also submitted a declaration stating that as an

                                  27   HASC member, he has a connection to the clubhouse, is free to use the facility, has a key, stores

                                  28   personal items on the premises, and has slept and received mail there. Ott Declaration ¶ 3-10,
                                                                                         39
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 40
                                                                                                   Page
                                                                                                      of 51
                                                                                                         40 of 51




                                   1   Docket No. 2070-2.

                                   2          The Government argues that Defendant Ott has not shown that he has standing to

                                   3   challenge the search of the HASC clubhouse. Opp’n at 22. The Government notes that Defendant

                                   4   Ott has “not shown that any seized evidence was ‘personal property or otherwise kept in a private

                                   5   place separate from other work-related material.’” Id. at 23 (citing SDI Future Health, Inc., 568

                                   6   F.3d at 698). Additionally, the Government emphasizes that Defendant Ott also failed “to state

                                   7   whether he ever exercised” his claimed right to exclude individuals from the clubhouse. Id. (citing

                                   8   Pirk, 282 F.Supp.3d at 593).

                                   9          Unlike Defendant Wendt, at the time of the HASC clubhouse search Defendant Ott was

                                  10   only an HASC member (not the President). Ott does not demonstrate that as a member who is not

                                  11   an officer, he has special authority over the use of the clubhouse; nor has he shown that he has

                                  12   exercised his claimed right to exclude individuals from the HASC clubhouse. He does not state
Northern District of California
 United States District Court




                                  13   that he has exclusive use of the clubhouse or demonstrated an intent to keep any part secure from

                                  14   the interference of others. As the court held in Pirk, 282 F.Supp.3d at 593, a member does not

                                  15   have a sufficient expectation of privacy to have standing to challenge search of the HASC

                                  16   clubhouse.

                                  17          Accordingly, the Court finds that Defendant Ott does not have standing to challenge the

                                  18   search of the HASC clubhouse. As such, the Court need not address Ott’s probable cause

                                  19   challenge to the search of the HASC clubhouse.

                                  20   D.     Cell Phone Evidence (Wendt, Ott, and Nelson)

                                  21          1.      Standing

                                  22          The Government argues that “much of the data at issue” in Defendants’ motions to

                                  23   suppress cell phone evidence “is not subject to suppression at all.” Opp’n at 39. The Government

                                  24   explains that all three warrants sought three categories of information: (1) sent and received text

                                  25   messages; (2) subscriber and call-detail records; and (3) cell-site location records. Id.

                                  26   Additionally, the Government notes that it “did not receive any sent and received text messages or

                                  27   stored communications and files, so there is no material to suppress for that category of

                                  28   information.” Id. The Government specifically claims that Defendants “lack standing to suppress
                                                                                         40
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 41
                                                                                                   Page
                                                                                                      of 51
                                                                                                         41 of 51




                                   1   subscriber and call-detail records” because the Supreme Court has held that there is no legitimate

                                   2   expectation of privacy information that is voluntarily turned over to third parties. Id.

                                   3           In Smith v. Maryland, 442 U.S. 735, 744 (1979) the Supreme Court held that when the

                                   4   petitioner used his phone, he “voluntarily conveyed numerical information to the telephone

                                   5   company and ‘exposed’ that information to its equipment in the ordinary course of business. In so

                                   6   doing, [the] petitioner assumed the risk that the company would reveal to police the numbers he

                                   7   dialed.” As such, the Supreme Court held that the petitioner had no actual or legitimate

                                   8   expectation of privacy in the numbers he dialed. Id. at 745. Relying on the reasoning in Smith,

                                   9   the Ninth Circuit in United States v. Reed, 575 F.3d 900, 914 (9th Cir. 2009), held that there is no

                                  10   expectation of privacy in data about the call origination, length, and time of call.

                                  11           As such, the Court finds that Defendants lack standing as to the subscriber and call-detail

                                  12   records.7 Additionally, since the Government did not receive any sent and received text messages,
Northern District of California
 United States District Court




                                  13   there is nothing to suppress as to that category. Thus, Defendants only have standing to challenge

                                  14   the seizure of the cell-site location records.

                                  15           2.      Probable Cause as to the Warrant for Ott’s Cell Records

                                  16           Defendant Ott claims that the 2014 warrant issued by Superior Court Judge Weller was not

                                  17   supported by probable cause because it rests entirely on Detective Menke’s “bare bones”

                                  18   conclusions. Ott Cell Mot. at 7, Docket No. 2065-2. Defendant Ott claims that the “only

                                  19   suspicious event set forth in the affidavit” was that Mr. Silva’s truck was found burning in a rural

                                  20   area of Merced County. Id. at 8. Additionally, he argues that Detective Menke made

                                  21   “unsupportable conclusions” that the crimes of kidnapping and murder had occurred given Johnny

                                  22   Crail’s statement that Silva was in good standing with the Hells Angels. Id.

                                  23           Menke details his training and experience in the affidavit. Ex. A, Ott Cell Affidavit at SW-

                                  24   1340-1341, Docket No. 2065-3. Additionally, the affidavit states that on August 5, 2014, Ann and

                                  25   Johnny Crail (Joel Silva’s mother and stepfather) reported Joel Silva as a missing person because

                                  26
                                       7
                                  27     Defendants have not contended the Government violated, e.g., 18 U.S.C. §§ 3121 [General
                                       prohibition on pen register and trap and trace device use; exception], 3122 [Application for an
                                  28   order for pen register or trap and trace device], and 3123 [Issuance of an order for a pen register or
                                       trap and trace device].
                                                                                          41
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 42
                                                                                                   Page
                                                                                                      of 51
                                                                                                         42 of 51




                                   1   they had not heard from him since July 14. 2014. Id. at SW-1341. The affidavit notes that at the

                                   2   time of his disappearance, Silva was an HASC member in good standing that held the position of

                                   3   Sergeant at Arms and was in the process of opening a tattoo shop across the street from the HASC

                                   4   clubhouse. Id. at SW-1342. Further, the affidavit notes that Mr. Crail stated that it was not

                                   5   unusual for Silva to go out of town for several days at a time, but that Silva had never gone this

                                   6   long without making contact with any family members. Id. at SW-1341. The affidavit also notes

                                   7   that Ann Crail, Silva’s mother, stated she learned from the CHP that Silva’s truck was completely

                                   8   burned and found in a rural area in Merced County. Id. The CHP had stored the vehicle. Id. at

                                   9   SW-1342. The affidavit notes that on August 14, 2014, Menke went to Los Banos to process the

                                  10   vehicle for evidence with a field evidence technician and a Cal Fire investigator. Id. The affidavit

                                  11   states that based on the state of the vehicle, it did not appear that the fire started in the engine

                                  12   compartment and was instead consistent with someone having intentionally started the fire in an
Northern District of California
 United States District Court




                                  13   effort to destroy evidence. Id. On August 15, 2014, Menke spoke with Silva’s wife, Stacy Silva,

                                  14   who stated that she had last spoken with him on July 15, 2014. Id. She told Menke that she did

                                  15   not believe Silva had packed a bag and assumed that she would see him the next morning. Id.

                                  16   The affidavit notes that on October 14, 2014, Stacey Silva confirmed that Silva was still missing

                                  17   (three months after she last spoke to him). Id. Menke stated his belief that although Silva told his

                                  18   stepfather that he would be leaving for a week, that the fact that Silva was still missing for

                                  19   approximately two months, with no family contact, was highly suspicious and indicative of foul

                                  20   play since Silva did not take any belongings and his vehicle was found burned. Id. at SW-1343.

                                  21   Menke also noted in the affidavit that he spoke with Ann Crail on August 13, 2014, and she stated

                                  22   that she had been contacting other HASC members about Silva’s disappearance. Id. Ms. Crail

                                  23   found out that Silva and HASC member Russell Ott had gone to a bar in San Francisco and after

                                  24   leaving, they went to Fresno. Id. While Silva and Ott were drinking at a house in Fresno, likely

                                  25   on July 15, 2014, Silva got a phone call and then got his truck and left Ott stranded in Fresno

                                  26   without a ride. Id. Ott then contacted Nelson and got a ride back to Santa Rosa. Id. The affidavit

                                  27   notes that Ms. Crail told Menke that this scenario seemed odd because she did not believe that

                                  28   Silva would leave Ott stranded because of his close connection with the Hells Angels. Id.
                                                                                          42
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 43
                                                                                                   Page
                                                                                                      of 51
                                                                                                         43 of 51




                                   1          Additionally, Menke notes that he obtained a search warrant for Silva’s phone records on

                                   2   August 20, 2014, and that the records show that on July 16, 2014, at approximately 1724, Silva’s

                                   3   cell phone was pinging a tower in Fresno and was “the last completed call to Silva’s phone.” Id.

                                   4   The affidavit also notes that on August 12, 2014, Hells Angels gang participant Jaron Wisinger

                                   5   was arrested in Madera County and during his arrest CHP officers located several pages of

                                   6   documents with cell phone numbers of Hells Angels members. Id. Officers specifically found a

                                   7   document that contained a section titled “Sonoma Co (707)” with the names of HASC members

                                   8   and their phone numbers. Id. The name “Rusty” was next to the phone number 707-536- 8170

                                   9   and Menke states that he believes that phone number belongs to Russell “Rusty” Ott, and is a

                                  10   number utilized to communicate with other Hells Angels gang participants. Id. The affidavit

                                  11   notes that Silva’s phone records showed that Defendant Ott’s phone (707-536-8170) called Silva’s

                                  12   phone on July 14, 2014, at 1659 hours. Id.
Northern District of California
 United States District Court




                                  13          There was thus substantial evidence suggesting Silva was the victim of foul play and that

                                  14   Ott had a role in it. Based on this information, Menke requested in the search warrant in question

                                  15   seeking the cell phone records for Defendant Ott’s phone (707-536-8170); the records could show

                                  16   “communications between Ott and Silva and any possible co-conspirators before and at the time of

                                  17   Silva’s disappearance” and “will tend to show who was involved and identify possible suspects

                                  18   . . . .” Id. at SW-1344.

                                  19          As noted, the affidavit contains facts that: (1) Joel Silva was member of the Hells Angles

                                  20   and had been missing for approximately two months without any contact with family members

                                  21   and that was unusual; (2) indicate that Silva left without taking any personal belongings; (3)

                                  22   Silva’s last contact with a family member was on July 15, 2014, when he called his wife Stacey;

                                  23   (4) Silva’s truck was found burned in a manner consistent with arson in a rural area; (5) Silva’s

                                  24   mother reported that she learned Silva had been with Russell Ott on July 15, 2014, drinking in

                                  25   Fresno and that she thought it was odd for him to leave Ott stranded; and (6) Silva’s phone records

                                  26   show that he was in Fresno on July 16, 2014 and Ott’s phone communicated with Silva on July 14,

                                  27   2014. Thus, the aforementioned evidence in the affidavit provided a substantial basis for the

                                  28   issuing judge to find that there was a fair probability that evidence pertaining to Silva’s
                                                                                         43
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 44
                                                                                                   Page
                                                                                                      of 51
                                                                                                         44 of 51




                                   1   disappearance would be found in the requested cell records.

                                   2          Accordingly, the Court finds that the warrant was supported by probable cause for

                                   3   searching Ott’s phone records.

                                   4          3.      Probable Cause as to the Warrant for Wendt’s Cell Records

                                   5          Defendant Wendt moves the Court to suppress all historical cell site location information

                                   6   (“CSLI”), all call detail records, text messages and other materials containing any content of

                                   7   communications from telephone number 559-679-3936, seized from AT&T pursuant to a search

                                   8   warrant issued by Sonoma County Superior Court Judge Averill. Wendt Cell Mot. at 2, Docket

                                   9   No. 2069-1. This warrant contained an affidavit from Menke that is similar to the affidavit

                                  10   included in the warrant to search Defendant Ott’s cell records. Id. Defendant Wendt also moves

                                  11   to exclude all AT&T phone records seized in this case without a warrant, or whose seizure appears

                                  12   to have exceeded the scope of the warrant. Id. Wendt specifically argues that the October 2014
Northern District of California
 United States District Court




                                  13   warrant for his cell phone records lacked probable because the affidavit failed to establish that he

                                  14   “had any involvement in Joel Silva’s disappearance.” Id. at 14.

                                  15          In addition to the information noted in the affidavit for the warrant pertaining to Defendant

                                  16   Ott’s cell records, the affidavit for Defendant Wendt’s cell phone records states that Menke

                                  17   learned from Ann Crail that Ott and Damien Cesena had gone to Silva’s residence approximately

                                  18   two weeks after his disappearance and took all of Silva’s Hells Angels paraphernalia. Ex. A,

                                  19   Wendt Cell Affidavit at SW-4529, Docket No. 2069-3. Additionally, the Wendt cell phone search

                                  20   warrant affidavit notes that Menke identified Wendt’s phone number through the use of law

                                  21   enforcement and FBI databases, and also identified Wendt as a member of the Fresno HA chapter.

                                  22   Id. at SW-4530. The affidavit also adds details regarding information obtained from Silva’s cell

                                  23   phone records, which were analyzed by an FBI special agent. Id. Silva’s phone records showed

                                  24   that on July 15, 2014, at approximately 23:05, his cell phone entered the Fresno area, and he was

                                  25   communicating primarily with three people: Cesena, Wendt, and Kimberly Schwarze (Silva’s

                                  26   girlfriend). Id. At 23:12, the records show Silva’s phone made a call to Wendt’s phone. Id. Then

                                  27   at approximately 23:36, Silva’s phone again made a call to Wendt’s phone. Id. The affidavit

                                  28   notes that these are the last connected communications made or received from Silva’s cell phone
                                                                                        44
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 45
                                                                                                   Page
                                                                                                      of 51
                                                                                                         45 of 51




                                   1   and that the last outgoing call made from Silva’s phone went to Wendt’s phone. Id. Additionally,

                                   2   cell tower analysis of the calls and text messages show that Silva’s cell phone stopped at the

                                   3   Fresno charter clubhouse. Id. From 23:36 on July 15, 2014, to 04:45 on July 16, 2014,

                                   4   Schwarze’s cell phone sent 31 text messages to Silva’s phone. Id. On July 16, 2014, Schwarze’s

                                   5   cell phone called Silva’s cell phone 20 times between the hours of 02:00 to 05:00. Id. Menke

                                   6   notes in the affidavit that amounts to over 50 texts and calls in a 4.5 hour time span, and he stated

                                   7   that this appeared consistent with someone who is concerned about Silva not answering the phone

                                   8   and who is “potentially worried about his well-being.” Id.

                                   9          Notably, the affidavit identifies Wendt as a member of the Fresno Hells Angels, notes that

                                  10   Silva’s last call was to Wendt, and that Silva’s phone stopped at the Fresno HA clubhouse, which

                                  11   was the last location of his phone prior to his disappearance. As such, the Court finds that there is

                                  12   a fair probability based on the aforementioned facts presented in the affidavit that Wendt’s phone
Northern District of California
 United States District Court




                                  13   would contain evidence related to Silva’s disappearance.

                                  14          Thus, the Court finds that the warrant was supported by probable cause for searching

                                  15   Wendt’s phone records.

                                  16          4.      Probable Cause as to the Warrant for Nelson’s Cell Records

                                  17          Defendant Nelson moves to suppress AT&T records for subscriber Jonathan Nelson,

                                  18   telephone number 707-849-1008 because the January 5, 2017 warrant issued by Sonoma County

                                  19   Superior Court Judge Ornell lacked probable cause. Nelson Mot. at 8. Defendant Nelson claims

                                  20   that the warrant lacks probable cause because there is an inadequate connection between his phone

                                  21   and Silva’s disappearance and no motive was stated for anyone from the HASC to kill Silva. Id.

                                  22   at 9. Additionally, Defendant Nelson specifically argues that the affidavit is “wholly insufficient”

                                  23   because Detective Menke merely “patches together a few phone calls and text messages made by”

                                  24   Defendant Nelson to Ott and Wendt “with vague and conclusory opinions about gangs and

                                  25   murder. Id. at 10.

                                  26          In addition to the information contained in the affidavits attached to the Ott and Wendt cell

                                  27   record warrants, the affidavit attached to the warrant for Nelson’s cell records contains additional

                                  28   facts, including information obtained from the warrant authorizing the search of Defendant Ott’s
                                                                                         45
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 46
                                                                                                   Page
                                                                                                      of 51
                                                                                                         46 of 51




                                   1   cell records. See Attachment 2, Nelson Cell Affidavit at SW-547, Docket No. 2067-2. Notably,

                                   2   the affidavit states that on October 15, 2014, Menke authorized a search warrant for Ott’s

                                   3   cellphone. Id. at SW-549. Records from Ott’s cellphone showed that his cell phone entered the

                                   4   Fresno service area at approximately 1616 on July 15, 2014, and Silva’s cell phone activity shows

                                   5   Silva in approximately the same area at approximately the same time. Id. at SW-550. The

                                   6   affidavit states that Ott placed a call to Nelson at 2256 on July 15, 2014 and placed additional calls

                                   7   to Nelson at 0135, 0225, 0313, and 0340 on July 16, 2014. Id. The affidavit also identified

                                   8   Nelson as President of the HASC. Id. Further, the affidavit notes that on October 29, 2014,

                                   9   Menke authored a search warrant for the phone records of Brian Wendt that revealed that on July

                                  10   15, 2014, Wendt placed and received several phone calls and text messages to Silva. Id.

                                  11   Additionally, the affidavit notes that on July 15, 2014, at 1010, Wendt received an incoming call

                                  12   from Nelson and on July 16, 2014, at 1538, Wendt sent and received a text message from Nelson.
Northern District of California
 United States District Court




                                  13   Id. Menke states that “[t]his is consistent with Wendt and Nelson having communicated prior to

                                  14   Silva’s arrival in the Fresno area, and then shortly after his disappearance.” Id.

                                  15          Additionally, on January 27, 2015, the affidavit notes that Menke contacted a close friend

                                  16   of Silva’s that relayed that the last thing Silva told him was, “[i]f the Club ever tells you I ran from

                                  17   them, don’t believe it.” Id. The friend also stated that Silva was on edge when he came from

                                  18   Laconia (June 14-22, 2014) and that he felt the issue Silva was dealing with was a “national” issue

                                  19   and not local Sonoma County issue. Id. The affidavit notes that on April 2, 2015, Menke spoke

                                  20   with another close friend of Silva’s who said he had seen Silva two weeks before Silva had come

                                  21   up missing and that Silva told him that if anything happened to him, he would know who did it;

                                  22   meaning the HAMC was responsible. Id. Menke notes in the affidavit that as of August 23, 2016,

                                  23   Silva is still missing and that Silva being missing for more than two years without family contact

                                  24   is “highly suspicious.” Id

                                  25          Notably, in contrast to the Ott and Wendt warrants for cell phone records, Menke sought

                                  26   this warrant for Nelson’s phone records two years after Silva disappeared. There had been no sign

                                  27   from Silva. The affidavit attached to the 2017 warrant for Nelson’s cell phone records identifies

                                  28   Nelson as the President of the HASC and shows that Ott was frequently communicating with
                                                                                         46
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 47
                                                                                                   Page
                                                                                                      of 51
                                                                                                         47 of 51




                                   1   Nelson at the time Ott’s phone arrived in Fresno, which was around the same time that Silva’s

                                   2   phone was in Fresno on the day of Silva’s disappearance. Additionally, it shows that Nelson was

                                   3   in communication with Wendt on July 15, 2014 and July 16, 2014, which is consistent with

                                   4   communications prior to Silva’s arrival in Fresno and shortly after his disappearance. As such,

                                   5   there is a fair probability based on the aforementioned facts presented in the affidavit that Nelson’s

                                   6   phone would contain evidence related to Silva’s disappearance.

                                   7          Thus, the Court finds that the warrant was supported by probable cause for searching

                                   8   Defendant Nelson’s phone records.

                                   9          5.      Specificity as to the Cell Phone Warrants (Wendt & Ott)

                                  10          Defendants Ott and Wendt both argue that the 2014 warrants for their cell phone records

                                  11   were overbroad because they sought records before and after Mr. Silva’s alleged disappearance.

                                  12   Defendant Ott specifically claims the cell phone warrant was overbroad because it authorized the
Northern District of California
 United States District Court




                                  13   seizure of telephone records from July 16, 2014 to October 15, 2014, “three months after Silva

                                  14   disappeared” and “[t]his was bridge too far.” Ott Cell Mot. at 10. He argues that this warrant

                                  15   authorized a “fishing expedition” because it “exceeded the purported showing of probable cause.”

                                  16   Id.

                                  17          Similarly, Defendant Wendt claims that the cell phone warrant was impermissibly broad

                                  18   because the supporting affidavit that was authored by Menke indicated that the police were

                                  19   searching for evidence relating to Mr. Silva’s July 15, 2014 disappearance, arson, and possible

                                  20   homicide, but “authorized the seizure and search of all stored communications and location data

                                  21   relating to [] Wendt’s phone number for a three month period.” Wendt Cell Mot. at 19, (emphasis

                                  22   in original). He specifically argues that the warrant failed to “link the data to be seized to the

                                  23   person under investigation” and “included a broad time frame that is not temporarily related to the

                                  24   alleged crime.” Id. at 20-21.

                                  25          As noted above, unlike the warrants at issue in SDI Future Health and Kow, the 2014

                                  26   warrants for Ott and Wendt’s cell phone records specified three categories of information sought

                                  27   (sent and received text messages, subscriber and call-detail records, cell-site location records) and

                                  28   stated temporal limits. Notably, the warrants appear limited in time to around two weeks prior to
                                                                                         47
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 48
                                                                                                   Page
                                                                                                      of 51
                                                                                                         48 of 51




                                   1   Silva’s suspected disappearance and about two and half months after. The time frame limitation,

                                   2   given the nature of what the suspected crime was, appears sufficiently specific.

                                   3          Accordingly, the Court finds that the October 2014 Ott and Wendt cell phone warrants

                                   4   provided the requisite specificity.

                                   5          6.      Material Omissions in Cell Phone Affidavits (Ott, Wendt, & Nelson)

                                   6          Defendants Ott, Wendt, and Nelson all claim that Menke made material omissions in the

                                   7   affidavits that were included in the respective cell phone warrants and contend that a Franks

                                   8   hearing is warranted.

                                   9          Defendant Ott claims that Menke deliberately omitted that the Cal Fire inspector’s report

                                  10   noted that there were other possible nonintentional causes, such as electrical and mechanical

                                  11   causes for the fire in Silva’s truck. Ott Cell Mot. at 12. Ott also claims that Menke’s omission of

                                  12   a statement from Stacey Silva, that she did not know where Silva went the day before he
Northern District of California
 United States District Court




                                  13   disappeared or whether he packed a bag because she was asleep, was a material omission. Id. at

                                  14   12-13. Additionally, Ott claims that Menke intentionally or negligently omitted the times of the

                                  15   two phone calls involving Silva’s phone that were cited as bases for the cell phone search warrant.

                                  16   Id. at 12. Ott specifically claims that Menke’s statement that Silva called Ott on July 15, 2014 at

                                  17   11:00 a.m. is not supported by Silva’s phone records since Silva called Ott’s number at 9:10 a.m.

                                  18   and the “duration of the call was 0.13 seconds, so it likely did not go through.” Id. Ott also notes

                                  19   that there was another call by Silva to Ott’s cell phone at 10:23 a.m. that lasted a little over a

                                  20   minute. Id. Lastly, Ott claims that Menke relied on documents seized in a Madera County search

                                  21   without showing that there was “any reason to credit the accuracy and reliability of the

                                  22   information therein and that the documents were lawfully obtained.” Id. at 13.

                                  23          Similarly, Defendant Wendt argues that the following information was materially omitted

                                  24   from the affidavit included in the 2014 warrant for his cell phone records: (1) a Cal Fire report

                                  25   from the fire investigator who inspected Silva’s truck on July 16, 2014 that included both

                                  26   mechanical and electrical as possible causes of the fire, in addition to arson; (2) a witness who had

                                  27   informed agents in August 2014 that he did not believe Joel Silva was killed at all, but that it was

                                  28   more likely he was told to leave and not return; (3) an informant who had provided information in
                                                                                          48
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 49
                                                                                                   Page
                                                                                                      of 51
                                                                                                         49 of 51




                                   1   October 2014 that Silva had disappeared previously for approximately one year before returning,

                                   2   and that his wife still believes he is going to come back at some point; (4) information from an

                                   3   informant provided to agents on October 3, 2014 who stated that Damien Cesena was the person

                                   4   who killed Joel Silva; and (5) the other individuals from Silva’s phone records with whom Silva

                                   5   was in communication by phone on July 15, 2014. Wendt Cell Mot. at 24.

                                   6           Relatedly, Defendant Nelson argues that Menke omitted a “critical piece of information

                                   7   that would provide an innocent explanation for the communications between [him] and Russell Ott

                                   8   around the time of [] Silva’s alleged disappearance” from the affidavit attached to the 2017

                                   9   warrant for Nelson’s cell records. Nelson Mot. at 11. Specifically, Nelson claims that Menke

                                  10   “omitted the information that Ann Crain told him during his August 13, 2014 interview” that was

                                  11   included in Menke’s affidavit in support of the 2014 warrant for Ott’s phone records but omitted

                                  12   from the Nelson cell phone record warrant application. Id. The omitted information was that “Ott
Northern District of California
 United States District Court




                                  13   was left stranded in Fresno” by Silva without a ride home and Ott contacted Nelson to get a ride

                                  14   home. Id. Nelson states that this information explains “why [he] was contacting [] Ott after Silva

                                  15   ‘disappeared.’” Id. Nelson argues that since the 2014 affidavit included in the warrant for Ott’s

                                  16   cell phone records and the 2017 affidavit “track each other substantially,” the omission of this

                                  17   information “is either deliberately designed to mislead the reviewing magistrate, or recklessly

                                  18   indifferent to the truth.” Id.

                                  19           As for Ott and Wendt’s claim regarding Menke’s omission regarding the Cal Fire report’s

                                  20   note that mechanical and electrical were potential causes of the fire in Silva’s truck in addition to

                                  21   arson, the investigator explicitly states in the report:

                                  22                   I included ARSON, because of the smell of diesel in the area of the
                                                       passenger compartment [where the fire started], and being a gasoline
                                  23                   drive vehicle. Also the drivers[’] side door being left open with no
                                                       one around the area was suspicious. With my knowledge and
                                  24                   training the doors are left open so the fire has more oxygen [to]
                                                       sustain combustion . . . . I included ELECTRICAL, because most of
                                  25                   the electrical was destroyed by the fire and I was unable to
                                                       determine if it was an electrical issue . . . . I included
                                  26                   MECHANICAL, because I am uncertain if this vehicle had any
                                                       mechanical issues, and the damage was too severe to make any
                                  27                   determinations.
                                  28   Wendt Cell Mot., Ex. B at 3; Docket No. 2069-4. Thus, Menke’s assertion that the fire in Silva’s
                                                                                           49
                                  Case 3:17-cr-00533-EMC
                                       Case 3:17-cr-00533-EMC
                                                           Document
                                                               Document
                                                                    2191 *SEALED*
                                                                         2237 Filed 01/14/22
                                                                                    Filed 12/09/21
                                                                                              Page 50
                                                                                                   Page
                                                                                                      of 51
                                                                                                         50 of 51




                                   1   truck was intentionally set was consistent with the CAL Fire report. The other causes noted in the

                                   2   report were mentioned only because they could not be ruled out given the extensiveness of the fire

                                   3   and damage. The omission of the mention of other possible causes in this instance falls short of

                                   4   the standard that “‘[a]ny reasonable person would have known that this was the kind of thing the

                                   5   judge would wish to know.’” Russo, 212 F.3d at 788 (citing Jacobs, 986 F.2d at 1235). The clear

                                   6   thrust of the report was that arson was the most likely explanation. At the very least, Ott and

                                   7   Wendt have not established that Menke’s omission of the other two causes was intentional or

                                   8   reckless. See United States v. DiCesare, 765 F.2d 890, 894-95 (9th Cir. 1985) (holding that even

                                   9   if information is found to be intentionally and recklessly omitted, a Franks hearing is not

                                  10   warranted if the challenged information is not necessary to find probable cause).

                                  11          As for Ott’s claim regarding the omission of the statement from Stacey Silva, her statement

                                  12   does not call into question or contradict any of the information presented in the affidavit. The fact
Northern District of California
 United States District Court




                                  13   remains Silva disappeared and has not been heard from for over two years. As such, Ott has not

                                  14   established that the omission was material to the probable cause finding. Nor has Ott established

                                  15   that Menke’s inaccuracy regarding the timing of Silva’s calls and the reliability of the documents

                                  16   seized in the Madera County search was material to the probable cause finding. Again, there is

                                  17   also no basis to find an intentional or reckless omission by Menke.

                                  18          As for Wendt’s claims that Menke materially omitted alternative theories from witnesses

                                  19   and informants, as noted above, these alternative explanations were improbable, especially since at

                                  20   the time of the warrants in question, Silva had been missing for over two years. Wendt fails to

                                  21   show that Menke intentionally or recklessly omitted this information. As for Wendt’s claim

                                  22   regarding the omissions of Silva’s phone records showing other people with whom he was

                                  23   communicating on July 15, 2014, Wendt likewise fails to show that Menke intentionally or

                                  24   recklessly omitted this information or that it was material to the probable cause finding.

                                  25          Regarding Nelson’s claim that Menke materially omitted information about Ott’s and

                                  26   Nelson’s phone contact on the night Silva went missing that would have provided an innocent

                                  27   explanation for the phone contact, this information does not negate probable cause. Arguably, it

                                  28   increased it. While the information may provide an innocent explanation for the phone contact, it
                                                                                        50
Case 3:17-cr-00533-EMC Document 2237 Filed 01/14/22 Page 51 of 51
